 USCA11 Case: 23-12155     Document: 57      Date Filed: 11/27/2023   Page: 1 of 86



                                  No. 23-12155

             In the United States Court of Appeals
                    for the Eleventh Circuit
 AUGUST DEKKER, BRIT ROTHSTEIN, SUSAN DOE, by and through her parents and
next friends, JANE DOE and JOHN DOE, and K.F., by and through his parent and next
                              friend, JADE LADUE,

                                             Plaintiffs-Appellees,

                                        v.

    SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION, et al.,

                                             Defendants-Appellants.

   On Appeal from the U.S. District Court for the Northern District of Florida,
       No. 4:22-cv-00325, Honorable Robert L. Hinkle, District Judge

            RESPONSE BRIEF FOR PLAINTIFFS-APPELLEES

Jennifer Altman            Simone Chriss               Omar Gonzalez-Pagan
Shani Rivaux               Chelsea Dunn                LAMBDA LEGAL DEFENSE
PILLSBURY WINTHROP         SOUTHERN LEGAL              AND EDUCATION FUND, INC.
SHAW PITTMAN, LLP          COUNSEL, INC.               120 Wall Street, 19th Floor
600 Brickell Avenue,       1229 NW 12th Avenue         New York, NY 10005
   Suite 3100              Gainesville, FL 32601       (212) 809-8585
Miami, FL 33131            (352) 271-8890
(786) 913-4900                                     Katy DeBriere
                           Abigail Coursolle       FLORIDA HEALTH JUSTICE
Catherine McKee            NATIONAL HEALTH LAW PROJECT
NATIONAL HEALTH LAW        PROGRAM                 3900 Richmond Street
PROGRAM                    3701 Wilshire Boulevard Jacksonville, FL 32205
1512 E. Franklin Street,     Suite 315             (352) 278-6059
   Suite 110               Los Angeles, CA 90010
Chapel Hill, NC 27514      (310) 736-1652
(919) 968-6308
                        Counsel for Plaintiffs-Appellees
                   (Additional counsel listed on inside cover.)
USCA11 Case: 23-12155     Document: 57     Date Filed: 11/27/2023   Page: 2 of 86



William C. Miller                        Karen L. Loewy
Gary J. Shaw                             LAMBDA LEGAL DEFENSE AND
PILLSBURY WINTHROP                       EDUCATION FUND, INC.
SHAW PITTMAN, LLP                        1776 K Street, NW, 8th Floor
1200 17th Street, NW                     Washington, DC 20006
Washington, DC 20036                     (202) 804-6245
(202) 663-8000


                        Counsel for Plaintiffs-Appellees
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023   Page: 3 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

            CERTIFICATE OF INTERESTED PERSONS AND
              CORPORATE DISCLOSURE STATEMENT

      Per Rule 26.1 and Circuit Rule 26.1, Plaintiffs-Appellees certify that the

following have an interest in the outcome of this case:

      1.     Academic Pediatric Association, Amicus

      2.     Alstott, Anne, Amicus

      3.     Altman, Jennifer, Counsel for Plaintiffs

      4.     American Academy of Child and Adolescent Psychiatry, Amicus

      5.     American Academy of Family Physicians, Amicus

      6.     American Academy of Nursing, Amicus

      7.     American Academy of Pediatrics, Amicus

      8.     American College of Obstetricians and Gynecologists, Amicus

      9.     American College of Osteopathic Pediatricians, Amicus

      10.    American College of Pediatricians, Amicus

      11.    American College of Physicians, Amicus

      12.    American Medical Association, Amicus

      13.    American Pediatric Society, Amicus

      14.    American Psychiatric Association, Amicus

      15.    Anderson, Barrett, Counsel for Amicus

      16.    Antommaria, Armand, Witness

      17.    Association of American Medical Colleges, Amicus

                                       C-1
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 4 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      18.    Bailey, Andrew, Counsel for Amicus

      19.    Baker, Kellan, Witness

      20.    Bardos, Andy, Counsel for Amicus

      21.    Barnes, Brian, Counsel for Amicus

      22.    Beato, Michael, Counsel for Defendants

      23.    Biggs, Michael, Witness

      24.    Biomedical Ethics and Public Health Scholars, Amicus

      25.    Bird, Brenna, Counsel for Amicus

      26.    Boergers, Kathleen, Counsel for Amicus

      27.    Boulware, Susan, Amicus

      28.    Bowdre, Alexander Barrett, Counsel for Amicus

      29.    Brackett, John Matthew, Witness

      30.    Bronni, Nicholas J., Counsel for Amicus

      31.    Brown, Louis, Jr., Amicus

      32.    Burleigh, Clifton Francis, Jr., Amicus

      33.    Cameron, Daniel, Counsel for Amicus

      34.    Cantor, James, Witness

      35.    Carr, Chris, Counsel for Amicus

      36.    Charles, Carl, Counsel for Plaintiffs

      37.    Chriss, Simone, Counsel for Plaintiffs

      38.    Chuang, Ming, Counsel for Amicus
                                       C-2
USCA11 Case: 23-12155       Document: 57       Date Filed: 11/27/2023   Page: 5 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      39.    Clark, Kaila, Counsel for Amicus

      40.    Commonwealth of Kentucky, Amicus

      41.    Commonwealth of Massachusetts, Amicus

      42.    Commonwealth of Virginia, Amicus

      43.    Cory, Alyssa L., Counsel for Amicus

      44.    Coursolle, Abigail, Counsel for Plaintiffs

      45.    Dalton, Ann, Witness

      46.    DeBriere, Katherine, Counsel for Plaintiffs

      47.    Dekker, August, Plaintiff

      48.    Ding, Michael, Counsel for Witness/Third-Party Miriam Grossman

      49.    District of Columbia, Amicus

      50.    Do No Harm, Amicus

      51.    Doe, Jane, Plaintiff

      52.    Doe, John, Plaintiff

      53.    Doe, Susan, Plaintiff

      54.    Donovan, Kevin, Witness

      55.    Dunn, Chelsea, Counsel for Plaintiffs

      56.    Edmiston, E. Kale, Witness

      57.    Endocrine Society, Amicus

      58.    English, Jeffrey, Witness

      59.    Ethics and Public Policy Center, Amicus
                                         C-3
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023   Page: 6 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      60.    Figlio, Erik, Counsel for Amicus

      61.    Fitch, Lynn, Counsel for Amicus

      62.    Florida Agency for Health Care Administration, Defendant

      63.    Florida Chapter of the American Academy of Pediatrics, Amicus

      64.    Florida Policy Institute, Amicus

      65.    Florida Voices for Health, Amicus

      66.    Gibson, Benjamin J., Counsel for Amicus

      67.    Gonzalez-Pagan, Omar, Counsel for Plaintiffs

      68.    Griffin, Steven J., Counsel for Amicus

      69.    Griffin, Tim, Counsel for Amicus

      70.    Grossman, Miriam, Witness/Third-Party Discovery Producer

      71.    Halley, Ted, Amicus

      72.    Hartnett, Kathleen, Counsel for Amicus

      73.    Hasson, Mary Rice, Counsel for Amicus

      74.    Helstrom, Zoe, Counsel for Amicus

      75.    Heyer, Walt, Amicus

      76.    Hilgers, Michael T., Counsel for Amicus

      77.    Hinkle, Robert, U.S. District Court Judge

      78.    Hruz, Paul William, Witness

      79.    Hussein, Abdul-Latif, Amicus

      80.    Hutton, Kim, Witness
                                       C-4
USCA11 Case: 23-12155          Document: 57    Date Filed: 11/27/2023   Page: 7 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      81.    Isasi, William, Counsel for Amicus

      82.    Jacobs, Dylan L., Counsel for Amicus

      83.    Janssen, Aron Christopher, Witness

      84.    Jazil, Mohammad, Counsel for Defendants

      85.    K.F., Plaintiff

      86.    Kaliebe, Kristopher Edward, Witness

      87.    Kamody, Rebecca, Amicus

      88.    Kang, Katelyn, Counsel for Amicus

      89.    Karasic, Dan, Witness

      90.    Kiefel, Camille, Witness

      91.    Kline, Robert, Counsel for Amicus

      92.    Kniffin, Eric Nieuwenhuis, Counsel for Amicus

      93.    Knudsen, Austin, Counsel for Amicus

      94.    Kobach, Kris W., Counsel For Amicus

      95.    Krasovec, Joseph, Counsel for Amicus

      96.    Kuper, Laura, Amicus

      97.    Labrador, Raúl R., Counsel for Amicus

      98.    LaCour, Edmund G. Jr., Counsel for Amicus

      99.    Lannin, Cortlin, Counsel for Amicus

      100. Laidlaw, Michael, Witness

      101. Lappert, Patrick, Witness
                                         C-5
USCA11 Case: 23-12155      Document: 57     Date Filed: 11/27/2023   Page: 8 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      102. Ladue, Jade, Plaintiff

      103. Levine, Stephen, Witness

      104. Little, Joseph, Counsel for Plaintiffs

      105. Loewy, Karen L., Counsel for Plaintiffs

      106. Marshall, Steve, Counsel for Amicus

      107. Marstiller, Simone, Former Defendant

      108. Mauler, Daniel, Counsel for Amicus

      109. McCotter, R. Trent, Counsel for Amicus

      110. McKee, Catherine, Counsel for Plaintiffs

      111. McNamara, Meredithe, Amicus

      112. Meszaros, Marie Connelly, Amicus

      113. Miller, William, Counsel for Plaintiffs

      114. Miyares, Jason, Counsel for Amicus

      115. Mondry, Emily, Counsel for Amicus

      116. Morrisey, Patrick, Counsel for Amicus

      117. Morrison, Rachel N., Amicus

      118. Nangia, Geeta, Witness

      119. National Association of Pediatric Nurse Practitioners, Amicus

      120. Nordby, Daniel E., Counsel for Witness/Third-Party Miriam
           Grossman and Counsel for Amicus

      121. Norohna, Maya, Amicus

                                      C-6
USCA11 Case: 23-12155      Document: 57       Date Filed: 11/27/2023   Page: 9 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      122. North Central Florida Council of Child and Adolescent Psychiatry,
           Amicus

      123. Olezeski, Christy, Amicus

      124. Olson-Kennedy, Johanna, Witness

      125. Paxton, Ken, Counsel for Amicus

      126. Pediatric Endocrine Society, Amicus

      127. Perko, Gary, Counsel for Defendants

      128. Polston, Ricky L., Counsel for Amicus

      129. Pratt, Christine, Amicus

      130. Pratt, Joshua E., Counsel for Defendants

      131. Ramer, John, Counsel for Amicus

      132. Reinhardt, Elizabeth, Counsel for Amicus

      133. Reyes, Sean, Counsel for Amicus

      134. Richards, Jay W., Amicus

      135. Rivaux, Shani, Counsel for Plaintiffs

      136. Rokita, Theodore E., Counsel for Amicus

      137. Rothstein, Brit, Plaintiff

      138. Samuels, Valerie, Counsel for Amicus

      139. Schechter, Loren, Witness

      140. Scott, Sophie, Witness

      141. Severino, Roger, Amicus

                                        C-7
USCA11 Case: 23-12155     Document: 57       Date Filed: 11/27/2023   Page: 10 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      142. Shaw, Gary, Counsel for Plaintiffs

      143. Sheeran, Andrew, General Counsel for Defendant AHCA

      144. Shumer, Daniel, Witness

      145. Skrmetti, Jonathan, Counsel for Amicus

      146. Societies for Pediatric Urology, Amicus

      147. Society for Adolescent Health and Medicine, Amicus

      148. Society for Pediatric Research, Amicus

      149. Society of Pediatric Nurses, Amicus

      150. State of Alabama, Amicus

      151. State of Arkansas, Amicus

      152. State of California, Amicus

      153. State of Delaware, Amicus

      154. State of Georgia, Amicus

      155. State of Idaho, Amicus

      156. State of Illinois, Amicus

      157. State of Indiana, Amicus

      158. State of Iowa, Amicus

      159. State of Kansas, Amicus

      160. State of Louisiana, Amicus

      161. State of Maryland, Amicus

      162. State of Mississippi, Amicus
                                       C-8
USCA11 Case: 23-12155     Document: 57       Date Filed: 11/27/2023   Page: 11 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      163. State of Missouri, Amicus

      164. State of Montana, Amicus

      165. State of Nebraska, Amicus

      166. State of New York, Amicus

      167. State of North Dakota, Amicus

      168. State of Oregon, Amicus

      169. State of Rhode Island, Amicus

      170. State of South Carolina, Amicus

      171. State of Tennessee, Amicus

      172. State of Texas, Amicus

      173. State of Utah, Amicus

      174. State of West Virginia, Amicus

      175. Szilagyi, Nathalie, Amicus

      176. Thompson, David, Counsel for Amicus

      177. Veroff, Julie, Counsel for Amicus

      178. Veta, D. Jean, Counsel for Amicus

      179. Van Meter, Quentin, Witness

      180. Van Mol, Andre, Witness

      181. Weida, Jason, Defendant

      182. Wilson, Alan, Counsel for Amicus

      183. World Professional Association for Transgender Health, Amicus
                                       C-9
USCA11 Case: 23-12155      Document: 57    Date Filed: 11/27/2023    Page: 12 of 86

August Dekker, et al. v. Secretary, Florida Agency for Health Care Administration
                                   No. 23-12155

      184. Zanga, Joseph, Witness

      Per Circuit Rule 26.1-2, Plaintiffs-Appellees certify that the CIP contained

herein is complete.

     Dated: November 27, 2023

                                             /s/ Omar Gonzalez-Pagan
                                             Omar Gonzalez-Pagan

                                             Counsel for Plaintiffs-Appellees




                                      C-10
USCA11 Case: 23-12155       Document: 57       Date Filed: 11/27/2023   Page: 13 of 86



              STATEMENT REGARDING ORAL ARGUMENT

       Plaintiffs concur with the State’s request for oral argument. Oral argument is

warranted because this case raises important questions about the limits on the State’s

ability to deny Medicaid coverage for necessary medical care to transgender people

with gender dysphoria under federal law, namely, the Fourteenth Amendment,

Section 1557 of the Patient Protection and Affordable Care Act, and the Medicaid

Act.




                                           i
 USCA11 Case: 23-12155                    Document: 57             Date Filed: 11/27/2023                 Page: 14 of 86



                                           TABLE OF CONTENTS

Certificate of Interested Persons and Corporate Disclosure Statement .................C-1
Statement Regarding Oral Argument ........................................................................ i
Table of Contents ...................................................................................................... ii
Table of Authorities ................................................................................................. iv
Introduction ................................................................................................................1
Statement of the Case .................................................................................................2
                   A.        Treatment for Gender Dysphoria ................................................3
                   B.        Florida Medicaid and GAPMS ...................................................7
                   C.        Florida’s prior coverage of gender-affirming medical
                             care ..............................................................................................8
                   D.        The 2022 GAPMS Process .........................................................8
                   E.        The Exclusions ..........................................................................10
                   F.        The Exclusions are part of a pattern of discrimination
                             against transgender people. .......................................................12
                   G.        The District Court’s Decision ...................................................14
Counterstatement of Issues ......................................................................................16
Summary of the Argument.......................................................................................16
Argument..................................................................................................................17
         I.        The Exclusions Violate the Equal Protection Clause..........................17
                   A.        The Exclusions discriminate based on sex and are
                             therefore subject to intermediate scrutiny. ................................18
                             1.        The Exclusions prohibit coverage based on a
                                       person’s sex. .................................................................. 18
                             2.        The Exclusions prohibit coverage based on
                                       transgender status. ......................................................... 23
                             3.        The Exclusions prohibit coverage based on sex
                                       stereotypes. .................................................................... 27
                   B.        Because the Exclusions discriminate based on
                             transgender status, they are independently subject to
                             heightened scrutiny. ..................................................................29


                                                              ii
 USCA11 Case: 23-12155                   Document: 57             Date Filed: 11/27/2023              Page: 15 of 86



                   C.       The Exclusions are subject to heightened scrutiny
                            because they engage in purposeful discrimination. ..................32
                   D.       Neither Geduldig, Dobbs, nor Eknes-Tucker forecloses
                            the application of heightened scrutiny to the Exclusions. ........38
                   E.       No rational bases, let alone exceedingly persuasive
                            justifications, exist for the Exclusions. .....................................42
                            1.        Defendants’ assertion that gender-affirming
                                      medical care is experimental has no basis. .................... 43
                            2.        The Exclusions are not justified by potential risks
                                      and side effects of the proscribed treatment. ................. 48
                            3.        Appeals to the general welfare do not justify the
                                      Exclusions. ..................................................................... 48
                   F.       The Exclusions fail any level of review....................................49
         II.       The Exclusions Violate the Affordable Care Act. ..............................51
         III.      The Exclusions Violate the Medicaid Act. .........................................52
                   A.       The Exclusions Violate the Medicaid Act’s EPSDT
                            Requirements. ...........................................................................53
                   B.       The Exclusions Violate the Medicaid Act’s
                            Comparability Requirement. ....................................................56
Conclusion ...............................................................................................................59
Certificate of Compliance ........................................................................................61
Certificate of Service ...............................................................................................62




                                                            iii
 USCA11 Case: 23-12155                Document: 57           Date Filed: 11/27/2023            Page: 16 of 86



                                    TABLE OF AUTHORITIES 1

                                                                                                         Page(s)
CASES
A.C. v. Metro. Sch. Dist. of Martinsville,
  75 F.4th 760 (7th Cir. 2023) .................................................................... 19, 23, 26
*Adams v. Sch. Bd. of St. Johns Cnty.,
  57 F.4th 791 (11th Cir. 2022) .................................................................. 18, 20, 33
Anderson v. City of Bessemer City,
 470 U.S. 564 (1985) .............................................................................................55
Anderson v. Holder,
 673 F.3d 1089 (9th Cir. 2012) ..............................................................................37
Bd. of Trs. of Univ. of Alabama v. Garrett,
 531 U.S. 356 (2001) ...................................................................................... 50, 51
*Bostock v. Clayton Cnty.,
  140 S.Ct. 1731 (2020) ....................................................................... 20, 21, 23, 26
Bowen v. Gilliard,
 483 U.S. 587 (1987) ...................................................................................... 29, 31
Boyden v. Conlin,
 341 F.Supp.3d 979 (W.D. Wis. 2018) ..................................................................28
Brandt v. Rutledge,
  47 F.4th 661 (8th Cir. 2022) .......................................................................... 19, 30
Bray v. Alexandria Women’s Health Clinic,
  506 U.S. 263 (1993) ...................................................................................... 40, 41
C.P. v. Blue Cross Blue Shield of Illinois,
  2022 WL 17788148 (W.D. Wash. Dec. 19, 2022) ...............................................24
Castaneda v. Partida,
 430 U.S. 482 (1977) .............................................................................................40


1
       Authorities upon which Plaintiffs-Appellees primarily rely are marked with
asterisks.

                                                        iv
 USCA11 Case: 23-12155                 Document: 57          Date Filed: 11/27/2023             Page: 17 of 86



Christian Legal Soc’y Chapter of the Univ. of California, Hastings Coll.
 of the L. v. Martinez,
 561 U.S. 661 (2010) .............................................................................................40
City of Cleburne, Texas v. Cleburne Living Ctr.,
  473 U.S. 432 (1985) ................................................................................ 29, 49, 50
Cota v. Maxwell-Jolly,
 688 F.Supp.2d 980 (N.D. Cal. 2010)........................................................ 56-57, 59
Cumulus Media, Inc. v. Clear Channel Commc’ns, Inc.,
 304 F.3d 1167 (11th Cir. 2002) ............................................................................15
Daubert v. Merrell Dow Pharms., Inc.,
 43 F.3d 1311 (9th Cir. 1995) ................................................................................45
*Davis v. Shah,
 821 F.3d 231 (2d Cir. 2016) .......................................................................... 56, 57
Deen v. Egleston,
 597 F.3d 1223 (11th Cir. 2010) ............................................................................49
Dobbs v. Jackson Women’s Health Org.,
 142 S.Ct. 2228 (2022) ..........................................................................................38
Dobson v. Sec’y of Health & Hum. Servs.,
 2022 WL 424813 (11th Cir. 2022) .......................................................................58
Dolloff v. United States,
 121 F.2d 157 (8th Cir. 1941) ................................................................................37
Edmonds v. Levine,
 417 F.Supp.2d 1323 (S.D. Fla. 2006) ...................................................................58
Eisenstadt v. Baird,
  405 U.S. 438 (1972) .............................................................................................50
Ekloff v. Rodgers,
  443 F.Supp.2d 1173 (D. Ariz. 2006) ....................................................................54
*Eknes-Tucker v. Governor of Alabama,
  80 F.4th 1205 (11th Cir. 2023) ..................................................................... passim




                                                         v
 USCA11 Case: 23-12155                 Document: 57           Date Filed: 11/27/2023            Page: 18 of 86



Equal Emp. Opportunity Comm’n v.
 R.G. &. G.R. Harris Funeral Homes, Inc.,
 884 F.3d 560 (6th Cir. 2018), aff’d sub nom. Bostock, 140 S.Ct. 1731 ...............28
Evancho v. Pine-Richland Sch. Dist.,
  237 F.Supp.3d 267 (W.D. Pa. 2017) ....................................................................30
F.V. v. Barron,
  286 F.Supp.3d 1131 (D. Idaho 2018) ...................................................................32
Fabian v. Hosp. of Cent. Connecticut,
 172 F.Supp.3d 509 (D. Conn. 2016) ....................................................................28
Fain v. Crouch,
 618 F.Supp.3d 313 (S.D.W. Va. 2022) ......................................................... 24, 57
Flack v. Wisconsin Dep’t of Health Servs.,
  328 F.Supp.3d 931 (W.D. Wis. 2018) ..................................................................24
Flack v. Wisconsin Dep’t of Health Servs.,
  395 F.Supp.3d 1001 (W.D. Wis. 2019) ................................................................57
Frew ex rel. Frew v. Hawkins,
  540 U.S. 431 (2004) .............................................................................................52
Geduldig v. Aiello,
 417 U.S. 484 (1974) ...................................................................................... 38, 41
Gen. Elec. Co. v. Gilbert,
 429 U.S. 125 (1976), superseded by statute, 42 U.S.C. § 2000e(k) ....................25
*Glenn v. Brumby,
 663 F.3d 1312 (11th Cir. 2011) ............................................................... 24, 27, 40
*Grimm v. Gloucester Cnty. Sch. Bd.,
 972 F.3d 586 (4th Cir. 2020) ........................................................................ passim
*Hecox v. Little,
 79 F.4th 1009 (9th Cir. 2023) ........................................................................ 23, 41
J.E.B. v. Alabama,
  511 U.S. 127 (1994) ...................................................................................... 22, 26




                                                         vi
 USCA11 Case: 23-12155                 Document: 57           Date Filed: 11/27/2023            Page: 19 of 86



K.C. v. Individual Members of Med. Licensing Bd. of Ind.,
  2023 WL 4054086 (S.D. Ind. June 16, 2023), appeal filed,
  No. 23-2366 (7th Cir. July 12, 2023) ...................................................................19
*K.G. ex rel. Garrido v. Dudek,
  864 F.Supp.2d 1314 (S.D. Fla. 2012), aff’d in part, rev’d in part sub
  nom. Garrido v. Dudek, 731 F.3d 1152 (11th Cir. 2013).............................. 43, 44
Kadel v. Folwell,
 2022 WL 11166311 (M.D.N.C. Oct. 19, 2022) ...................................................24
Kadel v. Folwell,
 446 F.Supp.3d 1 (M.D.N.C. 2020) .......................................................................29
Kadel v. Folwell,
 620 F.Supp.3d 339 (M.D.N.C. 2022) ...................................................................20
Karnoski v. Trump,
 926 F.3d 1180 (9th Cir. 2019) ..............................................................................30
Katie A., ex rel. Ludin v. L.A. County,
 481 F.3d 1150 (9th Cir. 2007) ..............................................................................54
L.W. v. Skrmetti,
  83 F.4th 460 (6th Cir. 2023) .................................................................................39
Lange v. Houston Cnty.,
  608 F.Supp.3d 1340 (M.D. Ga. 2022) ........................................................... 34, 38
Latta v. Otter,
  771 F.3d 456 (9th Cir. 2014) ................................................................................31
Lawrence v. Texas,
  539 U.S. 558 (2003) .............................................................................................40
*League of Women Voters of Fla. Inc. v. Fla. Sec’y of State,
  66 F.4th 905 (11th Cir. 2023) ........................................................................ 34, 38
M.H. v. Berry,
 2021 WL 1192938 (N.D. Ga. March 29, 2021) ...................................................53
Mallory v. Norfolk S. Ry. Co.,
 600 U.S. 122 (2023) .............................................................................................39




                                                        vii
 USCA11 Case: 23-12155                 Document: 57            Date Filed: 11/27/2023            Page: 20 of 86



Mathews v. Lucas,
 427 U.S. 495 (1976) .............................................................................................49
McLaughlin v. Florida,
 379 U.S. 184 (1964) .............................................................................................22
Mills v. Habluetzel,
 456 U.S. 91 (1982) ...............................................................................................31
Mississippi Univ. for Women v. Hogan,
 458 U.S. 718 (1982) .............................................................................................23
Moore ex rel. Moore v. Reese,
 637 F.3d 1220 (11th Cir. 2011) ............................................................................54
Nyquist v. Mauclet,
 432 U.S. 1 (1977) .................................................................................................31
Peltier v. Charter Day Sch., Inc.,
  37 F.4th 104 (4th Cir. 2022), cert. denied, 143 S.Ct. 2657 (2023) ......................22
*Pers. Adm’r of Massachusetts v. Feeney,
  442 U.S. 256 (1979) ...................................................................................... 33, 39
Powers v. Ohio,
 499 U.S. 400 (1991) .............................................................................................22
Ray v. McCloud,
 507 F.Supp.3d 925 (S.D. Ohio 2020) ...................................................................30
Reed v. Reed,
  404 U.S. 71 (1971) ...............................................................................................19
Rinaldi v. Yeager,
  384 U.S. 305 (1966) .............................................................................................49
*Romer v. Evans,
  517 U.S. 620 (1996) ...................................................................................... 50, 51
*Rush v. Parham,
  625 F.2d 1150 (5th Cir. 1980) ................................................................. 43, 46, 53
S. Bay United Pentecostal Church v. Newsom,
  141 S.Ct. 716 (2021) ............................................................................................49



                                                        viii
 USCA11 Case: 23-12155                 Document: 57           Date Filed: 11/27/2023             Page: 21 of 86



S.D. ex rel. Dickson v. Hood,
  391 F.3d 581 (5th Cir. 2004) ......................................................................... 54, 55
Schmitt v. Kaiser Found. Health Plan of Washington,
  965 F.3d 945 (9th Cir. 2020) ................................................................................51
Sessions v. Morales-Santana,
  582 U.S. 47 (2017) ...............................................................................................43
Smith v. Benson,
 703 F.Supp.2d 1262 (S.D. Fla. 2010) ...................................................................54
Students for Fair Admissions, Inc. v.
  President & Fellows of Harvard Coll.,
  600 U.S. 181 (2023) ...................................................................................... 26, 52
Thompson v. Hebdon,
  7 F.4th 811 (9th Cir. 2021) ...................................................................................25
Toomey v. Arizona,
  2019 WL 7172144 (D. Ariz. Dec. 23, 2019) ........................................................24
Tuan Anh Nguyen v. I.N.S.,
  533 U.S. 53 (2001) ...............................................................................................23
*United States v. Virginia,
 518 U.S. 515 (1996) ...................................................................................... 18, 22
*Village of Arlington Heights v. Metropolitan Housing Development
  Corp.,
  429 U.S. 252 (1977) .............................................................................................34
Warren v. DeSantis,
 653 F.Supp.3d 1118 (N.D. Fla. 2023) ..................................................................13
Washington v. Seattle Sch. Dist. No. 1,
 458 U.S. 457 (1982) .............................................................................................20
*Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,
 858 F.3d 1034 (7th Cir. 2017), partially abrogated on other grounds as
 recognized by A.C. v. Metro. Sch. Dist. of Martinsville,
 75 F.4th 760 (7th Cir. 2023) .................................................................... 19, 27, 30
White v. Beal,
 555 F.2d 1146 (3d Cir. 1977) ...............................................................................56

                                                         ix
 USCA11 Case: 23-12155                 Document: 57            Date Filed: 11/27/2023             Page: 22 of 86



Williams v. Kincaid,
 45 F.4th 759 (4th Cir. 2022) .................................................................................40
Windsor v. United States,
 699 F.3d 169 (2d Cir. 2012) .................................................................................31
Wolf v. Walker,
 986 F.Supp.2d 982 (W.D. Wis. 2014), aff’d sub nom,
 Baskin v. Bogan, 766 F.3d 648 (7th Cir. 2014) ....................................................31
STATUTES AND OTHER AUTHORITIES
U.S. Const., amend XIV .................................................................................. passim
42 U.S.C. § 1396a(a)(10)(A) ....................................................................... 52-53, 54
42 U.S.C. § 1396a(a)(10)(B)............................................................................. 53, 56
42 U.S.C. § 1396a(a)(43)(C)....................................................................................54
42 U.S.C. § 1396d(a) ...............................................................................................54
42 U.S.C. § 1396d(a)(4)(B) ......................................................................... 52-53, 54
42 U.S.C. § 1396d(a)(12) .........................................................................................54
42 U.S.C. § 1396d(r)(5) ......................................................................... 52-53, 54, 55
42 U.S.C. § 1396r-8 .................................................................................................55
42 U.S.C. § 1396r-8(d)(1)(B) ..................................................................................57
42 U.S.C. § 1396r-8(g)(1)(B)(i) ...............................................................................58
42 U.S.C. § 1396r-8(k)(2) ........................................................................................57
42 U.S.C. § 1396r-8(k)(6) ........................................................................................58
42 U.S.C. § 18116(a) ...............................................................................................51
42 U.S.C. § 2000e(k) ...............................................................................................25
42 C.F.R. § 440.120 .................................................................................................54
42 C.F.R. § 440.230(c)...................................................................................... 53, 56
42 C.F.R. § 440.240 .................................................................................................56


                                                          x
 USCA11 Case: 23-12155                    Document: 57             Date Filed: 11/27/2023               Page: 23 of 86



Fla. Stat. § 286.311(2)..............................................................................................19
Fla. Stat. § 456.001(9)(a) .................................................................................. 19, 27
Fla. Stat. § 456.001(9)(b) .........................................................................................21
Fla. Stat. § 456.52(1)................................................................................................13
Fla. Stat. § 456.52(5)(b) ...........................................................................................13
Fla. Stat. § 456.52(5)(c) ...........................................................................................13
FAC 59G-1.010 ..........................................................................................................7
FAC 59G-1.035 ......................................................................................................7, 9
FAC 59G-1.035(1)(a).................................................................................................7
FAC 59G-1.035(4) ............................................................................................ 43, 44
FAC 59G-1.035(6) .....................................................................................................7
FAC 59G-1.050(7) ........................................................................................... passim
FAC 64B15-14.014 ..................................................................................................13
FAC 64B8-9.019 ......................................................................................................13
Fla. Exec. Order No. 23-160 (Aug. 9, 2023) ...........................................................13
Fla. H.B. 1069, 2023 Leg., 125th Reg. Sess. (Fla. 2023) ........................................13
Fla. H.B. 1521, 2023 Leg., 125th Reg. Sess. (Fla. 2023) ........................................13
Fla. H.B. 1557, 2022 Leg., 124th Reg. Sess. (Fla. 2022) ........................................13
Fla. S.B. 254, 2023 Leg., 125th Reg. Sess. (Fla. 2023) ................................... passim
Fla. S.B. 1028, 2021 Leg., 123rd Reg. Sess. (Fla. 2021) ........................................13
Fla. S.B. 1438, 2023 Leg., 125th Reg. Sess. (Fla. 2023).........................................13
ACLU, Mapping Attacks on LGBTQ Rights in U.S. State Legislatures
 (Nov. 15, 2023), https://www.aclu.org/legislative-attacks-on-lgbtq-
 rights .....................................................................................................................12
Bill Analysis and Fiscal Impact Statement (Pre-Hearing), Committee on
  Health Policy (Mar. 10, 2023), https://tinyurl.com/3p98jyy4 ..............................12


                                                              xi
 USCA11 Case: 23-12155               Document: 57           Date Filed: 11/27/2023           Page: 24 of 86



Bill Analysis and Fiscal Impact Statement, Committee on Health Policy
  (Mar. 10, 2023), https://tinyurl.com/2s3cbh4f .....................................................12
Bill Analysis and Fiscal Impact Statement, Committee on Health Policy
  (Mar. 14, 2023), https://tinyurl.com/3jbvdatt .......................................................12
Bill Analysis and Fiscal Impact Statement, Committee on Fiscal Policy
  (Mar. 22, 2023), https://tinyurl.com/2hpvb3hy ....................................................12
Hearing on H.B. 1421, 2023 Leg., 125th Sess. (Mar. 22, 2023),
 https://tinyurl.com/464nmuvn ..............................................................................37
Hearing on S.B. 254, 2023 Leg., 125th Reg. Sess. (Apr. 19, 2023),
 https://tinyurl.com/2usfjna4..................................................................................37
House Health & Human Servs. Comm. Meeting, 2023 Leg., 125th Sess.
 (Feb. 21, 2023), https://tinyurl.com/ms7w62dz,
 https://tinyurl.com/3zrkd8c4 ................................................................................12
Kenneth Culp Davis, An Approach to Problems of Evidence in the
 Administrative Process, 55 HARV. L. REV. 364 (1942)........................................37
Movement Advancement Project, Under Fire: Banning Medical Care and
 Legal Recognition for Transgender People (Sept. 2023),
 https://www.mapresearch.org/file/MAP-2023-Under-Fire-Report-5.pdf ............32
Order Granting Pls.’ Mot. Prelim. Inj., van Garderen v. Montana,
 No. DV-23-541 (Missoula Cnty. Dist. Ct., Mont. Sept. 27, 2023),
 https://www.documentcloud.org/documents/23993157-montana-order-
 granting-plaintiffs-motion-for-preliminary-injunction.........................................33




                                                      xii
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 25 of 86



                                 INTRODUCTION

      Decades of clinical experience and rigorous study have demonstrated medical

treatment for a transgender person’s gender dysphoria is safe and effective. This is

true for adults and adolescents. Yet, based on a flawed, biased, and predetermined

process, Florida categorically prohibited Medicaid coverage for this evidence-based

and widely accepted medical care, thereby endangering the health and wellbeing of

transgender Floridians. Florida did so notwithstanding that it previously covered

this medical care that is supported by “[t]he overwhelming weight of medical

authority.” Doc.246, at 18-19.

      Seeking to protect their rights, Plaintiffs challenged the State’s adoption of

the Exclusions pursuant to the Fourteenth Amendment, Section 1557 of the

Affordable Care Act, and the Medicaid Act. 2

      After a trial involving testimony from multiple medical experts and fact

witnesses, the district court correctly concluded that prohibiting Medicaid coverage

for the medical treatment of gender dysphoria has no reasonable basis, as this care

is safe, effective, and not experimental. The alternative—providing no medical

treatment—is not supported by any evidence and can result in grave consequences,




2
      Initially Plaintiffs challenged Rule 59G-1.050(7) (the “Rule”). Doc.1. After
the enactment of Senate Bill 254 (“SB254”), Plaintiffs amended their suit to also
challenge Section 3 of SB254. Doc.233. Together, these are the “Exclusions.”


                                         1
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023    Page: 26 of 86



however. The district court thus found in favor of Plaintiffs on each of their claims

pertaining to coverage of puberty-delaying medications or hormone treatments. 3

      The district court’s decision is correct as a matter of law and fact. This Court

should affirm.

                          STATEMENT OF THE CASE

      Plaintiffs are two transgender adults—August Dekker and Brit Rothstein—

and two transgender adolescents—Susan Doe and K.F. Tr. 603:6-9, 622:7-10,

655:1-2, 683:16-17. 4 Each of them has been diagnosed with gender dysphoria. Tr.

93:20-95:3. At all relevant times, Plaintiffs were enrolled in Florida’s Medicaid

program. Tr. 602:14-18, 622:1-2, 651:1-12, 681:16-17. Until the adoption of the

Exclusions, Florida Medicaid covered the medications needed to treat their gender

dysphoria. Tr. 611:10-13, 614:25-615:4, 622:3-6, 668:9-11, 703:18-20.

      Gender-affirming medical care has had profound benefits for each Plaintiff.

Tr. 611:3-6, 612:24-613:5, 636:12-19, 642:18-22, 644:13-15, 663:23-664:12,

666:13-19, 673:10-674:17, 696:22-697:9.




3
       The court found Plaintiffs did not have standing regarding surgery. Doc.246,
at 13-14. Plaintiffs did not appeal that ruling.
4
       In this brief, “Doc.” citations refer to district court docket entries. “Tr.”
citations refer to the trial transcript. “PX” and “DX” citations refer to Plaintiffs’ and
Defendants’ exhibits, respectively.


                                           2
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 27 of 86



      The Exclusions harm Plaintiffs by denying them access to medical treatment

they need. Tr. 611:16-19, 615:8-16, 643:20-646:6, 674:3-675:1, 705:19-21.

      A.     Treatment for Gender Dysphoria

      Gender identity is a person’s core internal sense of being male or female. Tr.

23:11-12, 783:22-784:1. It has a strong biological basis and cannot be changed. Tr.

27:15-28:2, 30:1-5. As the district court concluded, “Gender identity is real.”

Doc.246, at 4.

      Most people’s gender identity aligns with their sex assigned at birth

(“assigned sex”), typically designated based on external genitalia. Tr. 23:13-18. For

transgender people—less than one percent of the population—it does not. Tr. 23:22-

23, 472:5-14, 537:18–538:7, 950:7-18.

      Being transgender is not itself a disorder or condition to be cured. Tr. 26:5-7,

114:10-14. Many transgender people suffer from gender dysphoria, a serious

medical condition characterized by clinically significant distress resulting from the

incongruence between a person’s gender identity and assigned sex. Tr. 23:8-9,

186:12-17, 782:14-17. Without treatment, gender dysphoria can cause debilitating

anxiety, severe depression, self-harm, and even suicidality. Tr. 38:10-39:1, 571:23-

572:10, 808:15-809-14.

      Fortunately, gender dysphoria is treatable. Tr. 801:4-9, 801:21-25, 802:7-13.

For decades, medical organizations have studied gender dysphoria and created



                                          3
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 28 of 86



evidence-based standards for its treatment. Tr. 31:12-17, 66:24-67:2, 359:4-11,

363:5-7, 539:7-10. Since 1979, the World Professional Association for Transgender

Health (“WPATH”) has continuously published clinical practice guidelines for the

treatment of gender dysphoria, now in its eighth version (“WPATH Standards of

Care”). Tr. 31:24-32:5; DX.16. The Endocrine Society has also published practice

guidelines, first in 2009 and then in 2017 (“ES Guidelines”). Tr. 864:17-21; DX.24.

The WPATH Standards of Care and ES Guidelines (together the “Protocols”) are

consistent (Tr. 40:16-21, 198:14-19, 363:12-16) and widely accepted by the nation’s

major medical and mental health organizations as reflecting the consensus on the

appropriate treatment for gender dysphoria. Tr. 34:5-17; PX.36-43 and PX.45-49.

      Treatment for gender dysphoria seeks to eliminate distress by aligning an

individual’s body and presentation with their internal sense of self. Tr. 37:23-38:3,

292:9-13. Under the Protocols, the appropriate treatment for gender dysphoria

varies based on an individualized assessment of each patient’s needs. Tr. 42:8-12,

217:25-218:2; DX.16, at S32, S45. The Protocols differ for children, adolescents,

and adults. Tr. 42:16–44:10; DX.16; DX.24.

      Before puberty, treatment does not include any medical or surgical

intervention. Tr. 36:9-10, 41:6-10, 783:9-10.

      For medical interventions, the Protocols require detailed assessments,

particularly for adolescents.    Tr. 29:16-25, 782:8-21.      Medical treatment is



                                         4
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 29 of 86



appropriate only when the adolescent or adult has marked and sustained gender

dysphoria, no health issues that would interfere with treatment, and the capacity to

provide informed consent. Tr. 42:13-44:18; DX.16, at S32, S48. The Protocols

emphasize the importance of informed consent, including counseling about the risks

and benefits of treatment. Tr. 52:6-53:21, 377:4-378:15.

      For some adolescents, puberty-delaying medications (also known as GnRH

agonists or puberty blockers) may be indicated following the onset of puberty. Tr.

36:11-13. These medications work by pausing endogenous puberty, affording the

adolescent time to better understand their gender identity while delaying the

development of secondary sex characteristics, which can cause extreme distress. Tr.

37:6-20, 534:13-23. These medications have been used for decades to treat other

conditions, like precocious puberty. Tr. 200:22-201:18, 733:15-16. This treatment

is reversible; if discontinued, puberty resumes. Tr. 200:19-21.

      Puberty-delaying medications have no long-term implications for fertility,

sexual function, brain development, emotional regulation, or cognition. Tr. 206:20-

207:6, 210:9-17, 726:2-4, 729:19-24, 730:19-23.        The medical and scientific

literature has established that puberty-delaying medications are safe, effective, and

not experimental to treat gender dysphoria. Tr. 201:24-204:14, 572:12-19, 737:6-9,

739:20-23.




                                         5
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 30 of 86



      For some older adolescents and adults with gender dysphoria, hormone

therapy (like testosterone for transgender men or estrogen for transgender women)

may be medically necessary. Tr. 36:14-20, 37:21-38:3, 216:9-12. Hormone therapy

is safe, effective, and not experimental to treat gender dysphoria. Tr. 218:10-21,

572:20-573:1, 737:10-13.

      Hormone therapy has been administered and studied since the 1920s. Tr.

529:21-530:3.    Puberty-delaying medications have been used to treat gender

dysphoria in adolescents since the 1990s. Tr. 530:4-17. Thus, decades of clinical

experience support these treatments for gender dysphoria. Tr. 58:9-21, 202:4-9,

228:7-229:10, 547:11-548:3, 553:17-554:13. Similarly, decades of scientific studies

and evidence confirm that gender-affirming care is safe and effective. Tr. 72:23-24,

218:10-21, 359:23-360:1, 541:12-16, 543:23-546:3, 547:4-9, 548:12-550:7, 552:4-

553:16, 564:4-8, 573:19-574:1.

      As with most medical care, there are limitations to the evidence base. Tr. 67:3-

5, 735:7-16. There are no randomized controlled trials and some of the evidence

supporting this care is considered “low-quality” under the GRADE system. Tr. 146:

3-6, 350:4-7. However, a determination that a particular study is “low quality” does

not mean that a treatment is unsafe or ineffective. Tr. 346:21–347:2, 359:12-18. It

is commonplace for medical treatments to be provided even when supported only by

research producing evidence classified as “low” or “very low” on this scale. Tr.



                                          6
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 31 of 86



349:12-15.    Many practice guidelines, especially in pediatric care, make

recommendations based on “low” quality of evidence. Tr. 349:12-350:20, 365:5-

11. In fact, only about 13.5% of accepted medical treatments across all disciplines

are supported by “high” quality evidence on the GRADE scale. Tr. 69:4-70:3.

      Conversely, there is no established safe and effective alternative to medical

treatment for gender dysphoria for those who need it. Tr. 231:3-25, 569:14-20,

803:16-22. While behavioral health interventions are one component of treatment

for gender dysphoria, they are insufficient on their own. Tr. 51:8-15, 234:21-25. As

Defendants’ expert (Dr. Levine) acknowledged, there are no studies that support

withholding gender-affirming medical care. Tr. 1039:9-17.

      B.     Florida Medicaid and GAPMS

      Florida regulations require the Agency for Health Care Administration

(“AHCA”) to provide Medicaid coverage for health services that are medically

necessary, i.e., are consistent with “generally accepted professional medical

standards” (“GAPMS”) and are neither experimental nor investigational.           Fla.

Admin. Code R. (“FAC”) 59G-1.035(6), 59G-1.010, 59G-1.035.

      GAPMS are defined as “standards based on reliable scientific evidence

published in peer-reviewed scientific literature generally recognized by the relevant

medical community or practitioner specialty associations’ recommendations.” FAC

59G-1.035(1)(a). AHCA uses the GAPMS process to determine whether to cover a



                                         7
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 32 of 86



new service. Prior to this case, AHCA had never used the GAPMS process to

exclude coverage of a previously covered service. Tr. 435:19-22; Doc.235-1, at

93:13-21; PX.302. Each GAPMS review covers a single treatment. Tr. 436:10-18.

      C.    Florida’s prior coverage of gender-affirming medical care

      Until the Exclusions, Florida Medicaid covered gender-affirming medical

care, including puberty-delaying medications and hormone therapy, to adolescents

and adults for whom it was necessary to treat gender dysphoria. Doc.235-1, at 66:25-

68:17, 74:18-75:9, 84:2-18; Doc.235-2, at 243:7-15; PX.257; PX.317; Tr. 433:14-

434:10. Moreover, AHCA covers these same medical treatments to treat conditions

other than gender dysphoria. PX.1, at 4-5.

      D.    The 2022 GAPMS Process

      After the U.S. Department of Health and Human Services issued guidance

supporting gender-affirming care in April 2022 (DX.1, DX.2), the Florida

Governor’s office instructed AHCA and the Florida Department of Health

(“FDOH”) to re-review their policies on gender-affirming care.         Tr. 1259:24-

1260:16; see also Tr. 421:7-12, 1378:15-17. In response, FDOH issued guidance on

April 20, 2022, recommending against prescribing puberty-delaying medication and

hormones to minors, as well as social transition. DX.5. That same day, AHCA’s

then-Secretary instructed the Deputy Secretary to initiate a GAPMS process to re-




                                         8
USCA11 Case: 23-12155        Document: 57   Date Filed: 11/27/2023   Page: 33 of 86



review treatments for gender dysphoria even though AHCA already covered these

medical services to treat gender dysphoria. PX.19; Tr. 1182:7-10.

      AHCA tasked agency employee Matthew Brackett with conducting the

GAPMS re-review. Tr. 1195:11-13. Brackett “suspected” the request came from

the Governor’s office and “had an idea” of “what result the administration would

prefer.” Tr. 1256:14-16. 5

      Brackett did not have any background in science, medicine, or clinical

research, nor was he responsible for conducting GAPMS reviews. Tr. 1219:2–

220:25, 1223:1-4. In choosing Brackett, AHCA leadership bypassed the employee

responsible for GAPMS reviews to obtain the desired result. Tr. 413:1-10, 1167:8-

10, 1167:19-20.

      While Brackett knew that FAC 59G-1.035 “require[s] an exhaustive search

for what peer-reviewed literature is available,” Tr. 1192:12-17, his review was not

exhaustive. He admitted he failed to consider at least eight well-known studies

supportive of gender-affirming medical care. Tr. 1225:3–1230:15.

      In drafting his report, Brackett relied on two consultants: Andre Van Mol and

Miriam Grossman. Tr. 1175:5-7, 1202:13–1203:18, 1204:8-18. This was the first

time that AHCA retained consultants to advise on a GAPMS review. Tr. 428:25–



5
       The district court did not credit Brackett’s testimony that “he did not know
the preferred outcome.” Doc.246, at 9 n.21. Defendants do not challenge this.


                                        9
USCA11 Case: 23-12155      Document: 57     Date Filed: 11/27/2023   Page: 34 of 86



429:9. And Brackett and AHCA were aware that both Van Mol and Grossman are

well-known opponents of gender-affirming medical care. Tr. 1240:24-1241:2,

1242:17-20.

      Brackett’s GAPMS report concluded that gender-affirming medical

treatments were experimental and investigational. DX.6. The report was submitted

to Brackett’s superiors on June 1, 2022. Tr. 1181:4-13, 1202:20-24. The very next

day, the lengthy report had purportedly been reviewed and approved by four

different senior officials and was published. PX.297A.

      Additionally, AHCA retained five other “consultants”—doctors Cantor,

Donovan, Van Meter, Brignardello-Petersen, and Lappert—to draft separate reports

to be attached to the GAPMS report. DX.6; Defs.’ Br. 14. These consultants have

a history of opposing gender-affirming care, which their reports reflected. DX.6;

Doc.199 at 98-102.

      E.      The Exclusions

      The day after the report was published, AHCA proposed to codify the

GAPMS decision in Rule 59G-1.050(7) to bar Medicaid coverage for puberty-

delaying medications, hormone treatments, and surgery when used to treat gender

dysphoria.




                                       10
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023   Page: 35 of 86



      On July 8, 2022, AHCA held a public hearing on the Proposed Rule and took

the unprecedented step of having Van Mol, Van Meter, and Grossman serve as

panelists to respond to comments from the public. Tr. 1213:9-16; PX.305.

      Hundreds of oral and written comments were submitted in opposition to the

Proposed Rule, including comments from the Endocrine Society, the American

Academy of Pediatrics, and a team of legal and medical experts from various

academic institutions. See, e.g., PX.323-325. The comments made clear that the

Proposed Rule would cause unnecessary harm and suffering; the GAPMS Report

was flawed and contrary to established standards of care; and the Proposed Rule was

unlawful.

      Notwithstanding this opposition, AHCA finalized the Rule, effective August

21, 2022.

      On May 17, 2023, during the trial in this case, Florida’s Governor signed

SB254. Although it applies to minors and adults, the Governor’s Office described

the bill as “sweeping legislation to protect the innocence of Florida’s children.”

PX.365. Among other things, SB254 prohibits the use of state funds (including

Medicaid) to pay for medical treatment for gender dysphoria. Defs.’ Br. 22.




                                        11
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 36 of 86



        Throughout the hearings on SB254, legislators relied heavily on the GAPMS

Report. 6 When the House heard testimony, only doctors opposed to medical care

were permitted to testify. 7 The legislature refused to hear testimony from any

transgender people, parents of transgender adolescents, or providers of gender-

affirming care. 8

        F.    The Exclusions are part of a pattern of discrimination against
              transgender people.

        Transgender people have faced a long history of discrimination in this

country. In the past several years alone, “hundreds of anti-transgender bills in States

were proposed across America, most of them targeting transgender kids.” Doc.176-

36. 9

        Florida is no exception. Between April 20, 2022 and May 17, 2023, in

addition to the Exclusions, Florida banned medical providers from prescribing


6
       See Bill Analysis and Fiscal Impact Statement, Committee on Fiscal Policy,
at 17 (Mar. 22, 2023), https://tinyurl.com/2hpvb3hy; Bill Analysis and Fiscal Impact
Statement, Committee on Health Policy, at 17 (Mar. 14, 2023),
https://tinyurl.com/3jbvdatt; Bill Analysis and Fiscal Impact Statement, Committee
on Health Policy, at 17 (Mar. 10, 2023), https://tinyurl.com/2s3cbh4f; Bill Analysis
and Fiscal Impact Statement (Pre-Hearing), Committee on Health Policy, at 20 (Mar.
10, 2023), https://tinyurl.com/3p98jyy4.
7
      See House Health & Human Servs. Comm. Meeting, 2023 Leg., 125th Sess.
(Feb. 21, 2023), https://tinyurl.com/ms7w62dz, https://tinyurl.com/3zrkd8c4.
8
        Id.
9
      See also ACLU, Mapping Attacks on LGBTQ Rights in U.S. State
Legislatures, https://www.aclu.org/legislative-attacks-on-lgbtq-rights (Nov. 15,
2023).


                                          12
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 37 of 86



established medical care for transgender minors by rule (FAC 64B8-9.019 and

64B15-14.014) and statute (Fla. Stat. § 456.52(1)); made the provision of these

services to minors a felony (Fla. Stat. § 456.52(5)(b)); and took the unprecedented

step of restricting transgender adults from accessing established medical care, whose

providers now face criminal penalties (Fla. Stat. § 456.52(5)(c)) for providing this

care.

        In addition to restricting access to health care, Florida has enacted multiple

laws singling out transgender people for adverse treatment, including: SB1028,

banning transgender girls and women from playing on female sports teams; HB1557

and HB1069, together banning instruction about LGBTQ+ people or issues from

Kindergarten to eighth grade, prohibiting transgender teachers and staff from using

pronouns consistent with their gender identity, and singling out transgender persons

in school by authorizing others to refer to them without regard for their gender

identity; HB1521, excluding transgender people from public restrooms; and

SB1438, criminalizing drag shows.

        Florida’s Governor also removed two state attorneys from office for, in part,

saying that “transgender people are ‘some of the most vulnerable Americans’ and

that attacks on them ‘will deeply harm public safety.’” Warren v. DeSantis, 653

F.Supp.3d 1118, 1138 (N.D. Fla. 2023); see also Fla. Exec. Order No. 23-160 (Aug.

9, 2023), https://www.flgov.com/wp-content/uploads/2023/08/EO-23-160.pdf.



                                          13
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 38 of 86



      These measures constitute a clear expression of governmental hostility toward

transgender Floridians and establish an official policy of disapproval, with the goal

of preventing transgender Floridians from participating openly or equally in civil

society. No other state has enacted as many anti-transgender measures as Florida.

      G.     The District Court’s Decision

      Following a seven-day day bench trial, the district court issued its decision on

June 21, 2023. Doc.246.

      The court assessed the credibility of the parties’ designated experts.

Regarding Plaintiffs’ experts, the court found that “[t]he record includes testimony

of well-qualified doctors who have treated thousands of transgender patients with

GnRH agonists and cross-sex hormones over their careers and have achieved

excellent results,” and specifically credited the testimony of Drs. Karasic, Shumer,

Janssen, Olson-Kennedy, and Antommaria. Doc.246, at 21. This included “their

testimony that denial of this treatment will cause needless suffering for a substantial

number of patients and will increase anxiety, depression, and the risk of suicide.”

Doc.246, at 21. By contrast, Defendants’ experts lacked any significant experience

with gender dysphoria or providing gender-affirming care. Docs.119, 127, 133, 136,

139, 145. The court did not credit Dr. Hruz’s testimony and credited the “other

defense experts only to the extent consistent with this opinion.” Doc.246, at 5 n.8.




                                          14
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 39 of 86



      As to the merits, the district court made a series of factual findings based on

the extensive case record. Doc.246, at 3-11, 16-26, 38-51. 10 The court found that

the “well-established standards of care for treatment of gender dysphoria” are set

forth in the WPATH Standards of Care and ES Guidelines and “credit[ed] the

abundant testimony in this record that these standards are widely followed by well-

trained clinicians.” Doc.246, at 16. It also found that “[t]he overwhelming weight

of medical authority supports treatment of transgender patients with GnRH agonists

and cross-sex hormones in appropriate circumstances.” Doc.246, at 18. The court

concluded that “[t]here is no rational basis for a state to categorically ban these

treatments or to exclude them from the state’s Medicaid coverage” and rejected each

of the State’s possible justifications for the Exclusions. Doc.246, at 21, 38-51.

      Following its extensive analysis, the Court held that the Exclusions “violate

the federal Medicaid statute, the Equal Protection Clause, and the Affordable Care

Act’s prohibition of sex discrimination.” Doc.246, at 53. Thus, the court declared

the Exclusions to be “invalid to the extent they categorically ban Medicaid payment

for puberty blockers and cross-sex hormones for the treatment of gender dysphoria”

and enjoined Defendants from applying the Exclusions to Plaintiffs. Id.




10
     Because the district court’s findings are not clearly erroneous, nor do
Defendants argue that they are, they warrant deference from this Court. See Cumulus
Media, Inc. v. Clear Channel Commc’ns, Inc., 304 F.3d 1167, 1171 (11th Cir. 2002).


                                         15
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 40 of 86



                     COUNTERSTATEMENT OF ISSUES

      1.     Whether the Exclusions violate the Equal Protection Clause of the

Fourteenth Amendment.

      2.     Whether the Exclusions violate Section 1557 of the Affordable Care

Act (“Section 1557”).

      3.     Whether the Exclusions violate the Medicaid Act’s Early and Periodic

Screening, Diagnostic and Treatment (EPSDT) and comparability requirements.

                        SUMMARY OF THE ARGUMENT

      Defendants do not challenge a single factual finding in the district court’s

detailed and well-reasoned 54-page decision, which carefully analyzed all the

evidence and faithfully applied the law.        Instead, Defendants engage in legal

gymnastics to avoid scrutiny for their discriminatory actions and ask for absolute

deference to the State. But Floridians deserve better, and our Constitution and laws

demand more.

      First, the district court correctly held that the Exclusions violate the

Fourteenth Amendment’s Equal Protection Clause. They discriminate based on sex

and transgender status, bases that each demand heightened scrutiny. And the

Exclusions purposely discriminate against transgender Medicaid beneficiaries,

which independently warrants heightened scrutiny. Defendants’ arguments to the

contrary are unavailing. Not only are their cited precedents inapposite, but their call



                                          16
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 41 of 86



for total deference would hollow out our Constitution’s promise of equality under

the law. Defendants’ Exclusions cannot withstand any level of scrutiny.

      Second, the district court rightly held the Exclusions violate Section 1557,

which prohibits discrimination based on sex in health programs or activities.

Defendants do not challenge that the requisite elements are met. Rather, they argue

that “sex” means “biological sex,” and therefore the Exclusions pass muster. Even

under that framing, however, the Exclusions violate Section 1557.

      Third, the district court correctly held that the Exclusions violate the Medicaid

Act’s EPSDT and comparability requirements.

      The Court should affirm the district court’s decision.

                                   ARGUMENT

I.    The Exclusions Violate the Equal Protection Clause.

      The Exclusions single out transgender Medicaid beneficiaries for unequal

treatment in violation of the Constitution’s equal protection guarantee. They facially

discriminate based on sex and transgender status, and purposely discriminate against

transgender people, impermissibly seeking to impose gender conformity. The

district court thus properly subjected the Exclusions to heightened scrutiny and held

that they violated the Fourteenth Amendment.




                                         17
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 42 of 86



      In fact, the Exclusions cannot survive any level of scrutiny. As the district

court held, “[t]here is no rational basis for a state to categorically ban these

treatments or to exclude them from the state’s Medicaid coverage.” Doc.246, at 21.

      A.     The Exclusions discriminate based on sex and are therefore subject
             to intermediate scrutiny.

       “[W]hen it comes to sex-based classifications, a policy will pass

constitutional muster only if it satisfies intermediate scrutiny.” Adams v. Sch. Bd. of

St. Johns Cnty., 57 F.4th 791, 801 (11th Cir. 2022) (en banc). To survive such

scrutiny the State must offer an “exceedingly persuasive justification.” United States

v. Virginia, 518 U.S. 515, 531-33 (1996). It must show that its decision to regulate

by sex-discriminatory means is substantially related to the achievement of important

governmental objectives. Id.

      The district court properly determined the Exclusions discriminate based on

sex. They do so in three ways, they: (1) facially classify based on sex; (2) facially

classify based on a person’s failure to identify with their assigned sex, i.e., their

transgender status; and (3) impermissibly seek to impose sex stereotypes.

             1.     The Exclusions prohibit coverage based on a person’s sex.

      The Exclusions “necessarily rest[] on a sex classification.”          Grimm v.

Gloucester Cnty. Sch. Bd., 972 F.3d 586, 608 (4th Cir. 2020). The Rule prohibits

coverage for treatments for gender dysphoria if they seek to “alter primary or

secondary sexual characteristics,” including puberty blockers, hormones and


                                          18
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 43 of 86



hormone antagonists, and “sex reassignment surgeries.”           FAC 59G-1.050(7)

(emphasis added). Meanwhile, Section 3 of SB254 prohibits the use of “state funds

… for sex-reassignment prescriptions or procedures,” which includes “puberty

blockers,” “hormones or hormone antagonists,” or any “medical procedure” “to

affirm a person’s perception of his or her sex if that perception is inconsistent with

the person’s sex.” Fla. Stat. §§ 286.311(2), 456.001(9)(a) (emphasis added). These

provisions “cannot be stated without referencing sex” and are therefore “inherently

based upon a sex-classification.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd.

of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017), partially abrogated on other grounds

as recognized by A.C. v. Metro. Sch. Dist. of Martinsville, 75 F.4th 760, 768-69 (7th

Cir. 2023).

      By their plain terms, the Exclusions condition necessary medical care on a

person’s assigned sex. This is discrimination based on sex. See Brandt v. Rutledge,

47 F.4th 661, 669 (8th Cir. 2022); see also K.C. v. Individual Members of Med.

Licensing Bd. of Ind., 2023 WL 4054086, at *8 (S.D. Ind. June 16, 2023), appeal

filed, No. 23-2366 (7th Cir. July 12, 2023). When a law facially “provides that

different treatment be accorded to [persons] on the basis of their sex,” the law

necessarily “establishes a classification subject to scrutiny under the Equal

Protection Clause.” Reed v. Reed, 404 U.S. 71, 75 (1971).




                                         19
USCA11 Case: 23-12155        Document: 57       Date Filed: 11/27/2023   Page: 44 of 86



      The district court rightly noted that “[i]f one must know the sex of a person to

know whether or how a provision applies to the person, the provision draws a line

based on sex.” Doc.246, at 30 (citing Bostock v. Clayton Cnty., 140 S.Ct. 1731,

1737 (2020); Adams, 57 F.4th at 801). That is because “[a] facial inquiry is what it

sounds like: a review of the language of the policy to see whether it is facially neutral

or deals in explicitly … gendered terms.” Kadel v. Folwell, 620 F.Supp.3d 339, 375

(M.D.N.C. 2022) (cleaned up) (citing Washington v. Seattle Sch. Dist. No. 1, 458

U.S. 457, 485 (1982)).

      Defendants rely on this Court’s recent decision in Eknes-Tucker v. Governor

of Alabama, 80 F.4th 1205 (11th Cir. 2023). But that decision does not foreclose

Plaintiffs’ arguments. True, the Court in Eknes-Tucker did “not find the direct sex-

classification argument to be persuasive” because “it is difficult to imagine how a

state might regulate the use of puberty blockers and cross-sex hormones for the

relevant purposes in specific terms without referencing sex in some way.” Id. at

1228. But even setting aside that no mandate has been issued and a petition for

rehearing en banc remains pending in that case, its reasoning does not apply to

Plaintiffs’ arguments, which are not based on the mere incidental use of “gendered

terms.”

      That the Exclusions utilize “gendered terms” is not just a matter of semantics;

it is central to how the Exclusions operate. They do not categorically prohibit



                                           20
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 45 of 86



coverage for certain medical procedures writ large; instead, whether coverage for a

specific treatment is prohibited depends exclusively on whether the treatment is

deemed consistent or inconsistent with the person’s assigned sex. As the district

court explained, “consider an adolescent … that a physician wishes to treat with

testosterone. To know the answer [to whether the care will be covered], one must

know the adolescent’s sex. If the adolescent is a natal male, the treatment is covered.

If the adolescent is a natal female, the treatment is not covered.” Doc.246, at 30-31.

In other words, the Exclusions “penalize” a person designated male at birth for the

same “action[]” of seeking feminizing medical treatment that they “tolerate” in

persons designated female at birth. Bostock, 140 S.Ct. at 1741. 11 Stated differently,

the Exclusions’ gendered terms do not simply describe the nature of the care that is

excluded from coverage, but who can have the care they need covered. As the

Supreme Court explained, if the legislature cannot “writ[e] out instructions” for

determining whether treatment is covered “without using the words man, woman, or

sex (or some synonym),” the law classifies based on sex. Bostock, 140 S.Ct. at

1746.12 The Exclusions expressly reference a Medicaid beneficiary’s sex and gender


11
       By contrast, the Exclusions contain an explicit exception allowing for
irreversible, sterilizing surgery on intersex infants with differences of sex
development if the surgery seeks to conform the infant’s body with their assigned
sex. Fla. Stat. § 456.001(9)(b).
12
      As discussed in greater depth infra at Section I.A.2, this analysis applies
regardless that Bostock was a Title VII case rather than an Equal Protection case.


                                          21
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023    Page: 46 of 86



conformity and use them to determine whether treatment will be covered. This

triggers the Equal Protection inquiry. See Virginia, 518 U.S. at 555.

      Defendants further argue “[t]here’s no sex-based discrimination” because “the

challenged laws apply equally to both sexes.” Defs.’ Br. 29. This misses the mark.

There is no exception to heightened scrutiny for sex-based classifications that apply

equally to men as a group and women as a group. “Judicial inquiry under the Equal

Protection Clause … does not end with a showing of equal application.”

McLaughlin v. Florida, 379 U.S. 184, 191 (1964). Explicit facial classifications do

not become neutral “on the assumption that all persons suffer them in equal degree.”

Powers v. Ohio, 499 U.S. 400, 410 (1991). We do not compare the relative burdens

the law places on people of differing sexes. Peltier v. Charter Day Sch., Inc., 37

F.4th 104, 125 n.13 (4th Cir. 2022), cert. denied, 143 S.Ct. 2657 (2023). Indeed, the

Supreme Court squarely rejected this argument in J.E.B. v. Alabama, 511 U.S. 127,

141-42 (1994). The right to equal protection is individually held, and the Exclusions

impose an impermissible sex-based classification upon each person seeking

coverage for their care, requiring heightened scrutiny.

      Finally, that the Exclusions deal with medical procedures and a medical

diagnosis does not mean they do not discriminate based on sex. To argue otherwise

puts the cart before the horse, as such argument goes to whether the Exclusions’ sex-

based classifications can be sufficiently justified, not whether they discriminate



                                         22
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 47 of 86



based on sex. The very purpose of heightened scrutiny is “to assure that the validity

of [a sex] classification is determined through reasoned analysis rather than through

the mechanical application of traditional, often inaccurate, assumptions.”

Mississippi Univ. for Women v. Hogan, 458 U.S. 718, 725-26 (1982). The nature of

the medical care and underlying diagnosis may be reasons why a particular

classification survives heightened scrutiny, see Tuan Anh Nguyen v. I.N.S., 533 U.S.

53, 73 (2001), but they cannot be a basis for refusing to apply heightened scrutiny

in the first place. See Hogan, 458 U.S. at 724 n.9 (“While the validity and

importance of the objective may affect the outcome of the analysis, the analysis itself

does not change.”).

      In sum, because a beneficiary’s sex plays “an unmistakable and impermissible

role in the” decision to deny Medicaid coverage, the Exclusions facially discriminate

based on sex. Bostock, 140 S.Ct. at 1741–42.

             2.     The Exclusions prohibit coverage based on transgender status.

      The Exclusions also discriminate based on transgender status or, in other

words, the incongruence between a person’s gender identity and assigned sex. And

“discrimination based on … transgender status necessarily entails discrimination

based on sex.” Bostock, 140 S.Ct. at 1747; see also Hecox v. Little, 79 F.4th 1009,

1026 (9th Cir. 2023) (“discrimination on the basis of transgender status is a form of

sex-based discrimination” under Equal Protection); A.C., 75 F.4th at 769; Grimm,



                                          23
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 48 of 86



972 F.3d at 608; Glenn v. Brumby, 663 F.3d 1312, 1317 (11th Cir. 2011)

(discrimination against a transgender person is sex discrimination under the Equal

Protection Clause). Defendants fail to even mention Bostock, notwithstanding that

litigants are not free to ignore the Supreme Court’s reasoning.

      Here, the Exclusions explicitly bar “sex reassignment” prescriptions or

procedures. 13 By targeting “sex reassignment,” the Exclusions necessarily classify

based on transgender status: only transgender people undergo “sex reassignment” as

treatment for gender dysphoria. And “a person cannot suffer from gender dysphoria

without identifying as transgender.” Fain v. Crouch, 618 F.Supp.3d 313, 325

(S.D.W. Va. 2022); see also C.P. v. Blue Cross Blue Shield of Illinois, 2022 WL

17788148, at *6 (W.D. Wash. Dec. 19, 2022); Kadel v. Folwell, 2022 WL 11166311,

at *4 (M.D.N.C. Oct. 19, 2022). The Exclusions therefore single out treatment that

only transgender people need or seek. See Fain, 618 F.Supp.3d at 327; Toomey v.

Arizona, 2019 WL 7172144, at *6 (D. Ariz. Dec. 23, 2019); Flack v. Wisconsin

Dep’t of Health Servs., 328 F.Supp.3d 931, 950 (W.D. Wis. 2018); see also Eknes-

Tucker, 80 F.4th at 1229. By doing so, the Exclusions discriminate based on

transgender status, and therefore discriminate based on sex.




13
       This includes any prescriptions or procedures “to affirm a person’s perception
of his or her sex if that perception is inconsistent with the person’s sex,” as SB254
states, or to “alter primary or secondary sexual characteristics,” as the Rule states.


                                         24
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 49 of 86



      To be sure, in Eknes-Tucker, this Court observed that “[b]ecause Bostock …

concerned a different law (with materially different language) and a different factual

context, it [bore] minimal relevance to [that] case.” 80 F.4th at 1229. But the

question here is not whether to import Title VII’s liability standard to the Equal

Protection Clause; instead, it is whether the Exclusions’ discrimination against

transgender people constitutes sex discrimination. The answer is yes.

      That Bostock addressed Title VII rather than Equal Protection is irrelevant, as

we look to its reasoning, not its holding. Indeed, Bostock did not say its reasoning

applies only to Title VII or suggest that its assessment of sex classifications could

not apply in other contexts. Lower courts are “bound by more than just the express

holding of a case”—their decisions “must comport with the ‘reasoning or theory,’

not just the holding, of Supreme Court decisions.” Thompson v. Hebdon, 7 F.4th

811, 827 (9th Cir. 2021). And what constitutes sex discrimination for purposes of

Title VII is the same for purposes of the Fourteenth Amendment. See Gen. Elec.

Co. v. Gilbert, 429 U.S. 125, 145 (1976), superseded by statute, 42 U.S.C. §

2000e(k). 14




14
       While Gilbert was superseded by statute, its broader point about what
constitutes sex discrimination not differing remains.


                                         25
USCA11 Case: 23-12155        Document: 57       Date Filed: 11/27/2023   Page: 50 of 86



      While differences exist between Title VII and the Equal Protection Clause,

those distinctions concern whether sex discrimination is permissible 15—not whether

a sex classification exists in the first place. When attention is properly trained on

the classification identified in Bostock rather than the ultimate question of liability,

it is apparent the Supreme Court’s reasoning applies in full force here.

      That Bostock did not decide this case does not mean that its reasoning does

not apply. To find otherwise “is reading quite a bit into a statement that says, in

essence, ‘we aren’t reaching this point.’” A.C., 75 F.4th at 769. “It is best to take

the Court at its word,” however. Id.

      And any reliance on the “different language” between Title VII and the

Fourteenth Amendment overlooks that both unambiguously focus on discrimination

against individual persons, not groups. Compare Bostock, 140 S.Ct. at 1740-41, with

J.E.B., 511 U.S. at 152 (Kennedy J., concurring).

      Even if Bostock’s reasoning could be limited to Title VII (it cannot),

Defendants cannot explain how consideration of a person’s sex can be avoided when

considering their transgender status.

15
       Sex discrimination under Title VII is categorically prohibited, but a sex
classification may still be permissible under the Equal Protection Clause if it satisfies
heightened scrutiny. Cf. Students for Fair Admissions, Inc. v. President & Fellows
of Harvard Coll., 600 U.S. 181, 308-309 (2023) (Gorsuch, J., concurring) (drawing
distinction between Title VI and Title VII’s categorical prohibitions on race and sex
discrimination and the Equal Protection Clause’s application of strict and
intermediate scrutiny).


                                           26
USCA11 Case: 23-12155        Document: 57     Date Filed: 11/27/2023   Page: 51 of 86



      Because the Exclusions discriminate based on transgender status, they

discriminate based on sex.

             3.    The Exclusions prohibit coverage based on sex stereotypes.

      The Exclusions also rest on stereotypical notions about what it means to be

male or female.      Blackletter law holds that discrimination based on “sex”

encompasses discrimination based on the failure to conform to sex stereotypes—not

merely “biological sex.”       Indeed, “governmental acts based upon gender

stereotypes—which presume that men and women’s appearance and behavior will

be determined by their sex—must be subjected to heightened scrutiny because they

embody the very stereotype the law condemns.” Glenn, 663 F.3d at 1320 (quotation

omitted). 16 And “[b]y definition, a transgender individual does not conform to the

sex-based stereotypes of the sex that he or she was assigned at birth.” Whitaker, 858

F.3d at 1048; accord Glenn, 663 F.3d at 1316 (“A person is defined as transgender

precisely because of the perception that his or her behavior transgresses gender

stereotypes.”). Here, the Exclusions explicitly enforce sex stereotypes and gender

conformity by targeting health care for exclusion if a treatment’s purpose is to “to

affirm a person’s perception of his or her sex if that perception is inconsistent with

the person’s sex,” Fla. Stat. § 456.001(9)(a), or “alter primary or secondary sexual

characteristics,” FAC 59G-1.050(7).


16
      Glenn’s reasoning cannot be limited to employment context.


                                         27
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 52 of 86



      By making coverage contingent on a person’s sex, the Exclusions are an

impermissible “form of sex stereotyping where an individual is required effectively

to maintain [their] natal sex characteristics.” Boyden v. Conlin, 341 F.Supp.3d 979,

997 (W.D. Wis. 2018).

      Such discrimination “is not only discrimination because of maleness and

discrimination because of femaleness,” it also includes “discrimination because of

the properties or characteristics by which individuals may be classified as male or

female.” Fabian v. Hosp. of Cent. Connecticut, 172 F.Supp.3d 509, 526 (D. Conn.

2016); see also Equal Emp. Opportunity Comm’n v. R.G. &. G.R. Harris Funeral

Homes, Inc., 884 F.3d 560, 576 (6th Cir. 2018), aff’d sub nom. Bostock, 140 S.Ct.

1731. Here, the Exclusions impose the notion that one’s sex and sex characteristics

are confined by and must be maintained in accordance with one’s sex characteristics

at birth. But a cisgender woman is no less a woman because she needs a mastectomy,

hysterectomy, or estrogen, nor is a cisgender man any less a man because he needs

an orchiectomy or testosterone. Similarly, transgender people should not have their

medical care limited because the care is not “consistent” with their assigned sex.




                                         28
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 53 of 86



      The Exclusions “tether[] Plaintiffs to sex stereotypes which, as a matter of

medical necessity, they seek to reject.” Kadel v. Folwell, 446 F.Supp.3d 1, 14

(M.D.N.C. 2020). 17

      B.     Because the Exclusions discriminate based on transgender status,
             they are independently subject to heightened scrutiny.

      The district court was correct to hold that classifications based on transgender

status are subject to heightened scrutiny. Doc.246, at 32-34.

      Heightened scrutiny is required where the government targets a class that (1)

has been historically “subjected to discrimination,” Bowen v. Gilliard, 483 U.S. 587,

602 (1987); (2) has a defining characteristic bearing “no relation to ability to perform

or contribute to society,” City of Cleburne, Texas v. Cleburne Living Ctr., 473 U.S.

432, 441 (1985); (3) has “obvious, immutable, or distinguishing characteristics that

define them as a discrete group,” Gilliard, 483 U.S. at 602; and (4) is “a minority or

politically powerless,” id. All the indicia are present here.




17
        While the Court in Eknes-Tucker stated the law at issue “targets certain
medical interventions for minors meant to treat the condition of gender dysphoria; it
does not further any particular gender stereotype,” 80 F.4th at 1229, this statement
gets it backwards. By targeting medical procedures (available to all others for other
purposes) when used to treat gender dysphoria, the Exclusions exclude coverage
based on notions about how sexual characteristics ought to align for a transgender
person, given that gender dysphoria is defined by the incongruence between a
person’s gender identity and assigned sex. Whether these limits are justified is a
distinct question.


                                          29
USCA11 Case: 23-12155       Document: 57       Date Filed: 11/27/2023   Page: 54 of 86



      Relying on Adams’s footnote 5, Defendants argue the court erred in this

respect. But Adams’s statement expressing “grave doubts,” also cited in Eknes-

Tucker, 80 F.4th at 1230, was dictum. Neither Adams nor Eknes-Tucker assessed

the indicia of suspectness inherent in transgender status classifications. And “the

lack of binding precedent does not require this Court to only apply rational basis

review, nor does it prevent this Court from relying on well-reasoned opinions of non-

binding courts to inform its opinion here.” Ray v. McCloud, 507 F.Supp.3d 925, 938

(S.D. Ohio 2020).

      The Court should follow the Fourth and Ninth Circuits (as well as most district

courts) in concluding transgender persons constitute a quasi-suspect class. See, e.g.,

Grimm, 972 F.3d at 608; Karnoski v. Trump, 926 F.3d 1180, 1200-01 (9th Cir.

2019); Evancho v. Pine-Richland Sch. Dist., 237 F.Supp.3d 267, 288 (W.D. Pa.

2017); cf. Brandt, 47 F.4th at 670 n.4.

      Defendants do not dispute the first two factors: (1) that “transgender

individuals … continue to suffer widespread private opprobrium and governmental

discrimination, notably in the rule and statute now under review,” and (2) that

“[t]ransgender status is rarely an appropriate basis on which to parcel out

government benefits or burdens.” Doc.246, at 33. “There is no denying that

transgender individuals face discrimination, harassment, and violence because of

their gender identity,” Whitaker, 858 F.3d at 1051, and that this discrimination is



                                          30
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 55 of 86



unrelated to transgender people’s value to society, Grimm, 972 F.3d at 612. The

record supports this. See, e.g., Doc.176-29; Doc.176-36; Doc.176-37; Doc.178-11;

Tr. 473:10-23, 550:16-24, 554:15-20, 561:22-24; see also, supra, Part F.

      Because these first two factors alone may be dispositive, see Windsor v.

United States, 699 F.3d 169, 181 (2d Cir. 2012), heightened scrutiny is warranted,

and the district court’s decision should be affirmed.

      Nonetheless, as to the third factor, Defendants argue that transgender status is

not immutable. Defs.’ Br. 33. But though gender identity is innate, has a biological

underpinning, and cannot be voluntarily changed, Grimm, 972 F.3d at 612-13;

Tr.27:15-17, 30:1-5, “the test is broader” than immutability. Windsor, 699 F.3d at

183. 18 It includes whether individuals exhibit “distinguishing characteristics that

define them as a discrete group.” Gilliard, 483 U.S. at 602. Indeed, illegitimacy

and alienage are quasi-suspect or suspect classifications notwithstanding they are

not immutable. See Mills v. Habluetzel, 456 U.S. 91, 98-99 (1982); Nyquist v.

Mauclet, 432 U.S. 1, 9 n.11 (1977). Similarly, here, transgender people are an easily

distinguishable and discrete group.



18
       “Rather than asking whether a person could change a particular characteristic,
the better question is whether the characteristic is something that the person should
be required to change [in order to avoid government discrimination] because it is
central to a person’s identity.” Wolf v. Walker, 986 F.Supp.2d 982, 1013 (W.D. Wis.
2014), aff’d sub nom, Baskin v. Bogan, 766 F.3d 648 (7th Cir. 2014); see also Latta
v. Otter, 771 F.3d 456, 464 n.4 (9th Cir. 2014).


                                         31
USCA11 Case: 23-12155        Document: 57     Date Filed: 11/27/2023   Page: 56 of 86



      As to the fourth factor, “transgender people are unarguably a politically

vulnerable minority.” F.V. v. Barron, 286 F.Supp.3d 1131, 1145 (D. Idaho 2018).

Defendants argue otherwise because the current presidential administration is

supportive of transgender rights. Defs.’ Br. 33. But as documented throughout this

brief and the record, transgender people lack the political power to prevent the

onslaught of legislation targeting them for discrimination nationally and in Florida.

See Grimm, 972 F.3d at 612; see also, supra, Part F, and infra, Section I.C. These

attacks are “part of a much larger, coordinated effort to erase transgender people

entirely.” 19 Contending that transgender people are not a politically powerless group

is untenable.

      The district court was thus correct to hold classifications based on transgender

status, like the Exclusions, are quasi-suspect and warrant heightened scrutiny.

      C.        The Exclusions are subject to heightened scrutiny because they
                engage in purposeful discrimination.

      Third, the district court correctly found that the Exclusions warrant heightened

scrutiny because they engage in purposeful discrimination. The Exclusions were

adopted “because of,” not “in spite of,” their adverse effects on transgender people’s




19
       Movement Advancement Project, Under Fire: Banning Medical Care and
Legal     Recognition     for     Transgender   People      (Sept. 2023),
https://www.mapresearch.org/file/MAP-2023-Under-Fire-Report-5.pdf.


                                         32
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 57 of 86



ability to live in accordance with their gender identity.        See Pers. Adm’r of

Massachusetts v. Feeney, 442 U.S. 256, 279 (1979).

       The district court found that “[t]he rule and statute at issue were motivated in

substantial part by the plainly illegitimate purposes of disapproving transgender

status and discouraging individuals from pursuing their honest gender identities,” as

well as “[d]issuading a person from conforming to the person’s gender identity rather

than to the person’s natal sex.” Doc.246, at 37-38. These are “not [] legitimate state

interest[s].”   Id. at 37.    Rather, it “was purposeful discrimination against

transgender[] [persons].” Id. at 38. The district court is not alone. Other courts have

found the same regarding similar laws. See Order Granting Pls.’ Mot. Prelim. Inj.,

van Garderen v. Montana, No. DV-23-541 (Missoula Cnty. Dist. Ct., Mont. Sept.

27, 2023), at 33-34. 20

       Given their explicit terms, disapproving of transgender people and enforcing

state-mandated gender conformity was plainly not an incidental effect of the

Exclusions; it was their purpose, thus triggering heightened scrutiny under Feeney.

Indeed, “a disparate impact on a group offends the Constitution when an otherwise

neutral policy is motivated by purposeful discrimination.” Adams, 57 F.4th at 810.




20
     Available     at:     https://www.documentcloud.org/documents/23993157-
montana-order-granting-plaintiffs-motion-for-preliminary-injunction.


                                          33
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 58 of 86



      Moreover, the Exclusions were not adopted in a vacuum, but within a broader

context of legislation and other measures in Florida and nationally targeting

transgender people for discrimination. See, supra, Part F and Section I.B. This,

coupled with the Exclusions’ history and context, is independently sufficient to

warrant heightened scrutiny.

      In determining whether a “law has both a discriminatory intent and effect,”

this Court has relied on Village of Arlington Heights v. Metropolitan Housing

Development Corp., 429 U.S. 252 (1977), and later caselaw requiring the

consideration of several factors about the law and its adoption. See League of

Women Voters of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 922 (11th Cir. 2023).

These factors support the application of heightened scrutiny:

      The impact of the challenged law: Undeniably, “the Exclusion[s] impact[]

only transgender individuals—that provides some circumstantial evidence of

intentional discrimination.” Lange v. Houston Cnty., 608 F.Supp.3d 1340, 1355

(M.D. Ga. 2022); see also Eknes-Tucker, 80 F.4th at 1229; Doc.246, at 35, 36.

      The historical background: Florida Medicaid covered medical treatment for

gender dysphoria until 2022, when Florida enacted or adopted a blizzard of anti-

LGBTQ laws. Indeed, the district court found that, until the Exclusions were

implemented, “AHCA approved Medicaid payment for puberty blockers … and




                                         34
USCA11 Case: 23-12155       Document: 57       Date Filed: 11/27/2023   Page: 59 of 86



cross-sex hormones.” Doc.246, at 9; see also, supra, Part C; Tr. 435:7-16. Again,

Defendants do not dispute any of these factual findings.

      The specific sequence of events leading up to passage: The Exclusions

originated as part of a political response to an HHS fact sheet. See, supra, Part D.

The Rule was adopted at the behest of the Governor’s office, using a political,

anomalous, and predetermined process. Id.; Doc.246, at 9. The outcome was known

from the start, always leading to the care being “effectively banned.” PX.295;

PX.296. Moreover, the rapid succession of events leading to the Exclusions’

adoption evinces that they were driven by opposition to medical care unique to

transgender people, with the predetermined objective of restricting care for a

targeted group, rather than a neutral or good faith inquiry.

      Procedural and substantive departures:           A litany of procedural and

substantive departures led to the Exclusions’ adoption. As the district court found,

“[t]he new GAPMS process was, from the outset, a biased effort to justify a

predetermined outcome, not a fair analysis of the evidence.” Doc.246, at 9. These

departures included: (1) direction from the Florida Governor’s office to reconsider

coverage of this care, Tr. 1259:24-1260:16; see also Tr. 421:7-12, 1378:15-17; (2)

close coordination with other agencies, including the Governor’s Office and FDOH,

see, supra, Part D; (3) the unprecedented use of the GAPMS process for a treatment

already covered, Doc.235-1, at 93:13-21; (4) the retaining of consultants to support



                                          35
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 60 of 86



a GAPMS determination, Doc.235-2, 13:10-12, 15:17-16:3; (5) the use of only

consultants known in advance for their staunch opposition to gender-affirming care,

Doc.230-4, 112:5-23; PX.324; and (6) the dismissal of professional organizations

and experts that AHCA had frequently cited in prior GAPMS determinations,

Doc.235-1, 117:21-120:7; PX.18; see also Tr. 1231:10-20; PX.240; PX.333.

      Moreover, the legislative process through which SB254 was adopted

primarily relied on the GAPMS Report and witnesses who opposed gender-affirming

medical care and already served as the State’s witnesses in this case. Furthermore,

as noted in Part E, supra, the legislature refused to hear from any person negatively

impacted by SB254 or who was supportive of the care at issue.

      The contemporary statements and actions of key officials and legislators: The

district court cited some of the many examples in the trial and public records

evidencing the targeted opposition to transgender people by key stakeholders.

Doc.246, at 33 n.62 (pointing to Representative Webster Barnaby’s comments

referring to transgender Floridians as “mutants” and “demons and imps”). For

example, in their trial brief, Plaintiffs pointed to Governor DeSantis’s tweet saying

that “Gender-affirming care is a euphemism for disfiguring kids” and a video where

he falsely says that gender-affirming medical care involves “chopping off [kids’]

private parts” and is a “woke ideology” that “is a really destructive mind virus.”

Doc.199, at 17 n.11.



                                         36
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 61 of 86



      Another cited a fabricated story that a parent had put a six-month-old child on

hormone therapy who was “changed into a man.” 21 One referred to medical care

for transgender adolescents as an “abomination” and “child abuse” 22 while another

described medical care for transgender people as “gruesome” and “diabolical,” and

claimed that it leaves those that undergo it “disfigured” and “crippled.” 23

      These statements and many more are in the public record and this Court can

take judicial notice of them. See Anderson v. Holder, 673 F.3d 1089, 1094 (9th Cir.

2012) (“Legislative history is properly a subject of judicial notice.”); Dolloff v.

United States, 121 F.2d 157, 159 (8th Cir. 1941). Furthermore, these are legislative

facts, which appellate courts often find on their own. See Kenneth Culp Davis, An

Approach to Problems of Evidence in the Administrative Process, 55 Harv. L. Rev.

364, 403-07 (1942) (describing Supreme Court and other cases in which appellate

courts found legislative facts).

      The foreseeability of the disparate impact and knowledge of that impact: The

Exclusions’ impact on transgender Medicaid beneficiaries was not only foreseeable



21
       Hearing on H.B. 1421, 2023 Leg., 125th Sess., at 1:53:53 to 1:54:09 (Mar. 22,
2023), https://tinyurl.com/464nmuvn (statement of Rep. Melony M. Bell at 1:53:53
to 1:54:09).
22
      Id. (statement of Rep. Randy Fine at 32:57- 35:51; 2:03:54-2:03:58).
23
      Hearing on S.B. 254, 2023 Leg., 125th Reg. Sess., at 2:23:05-2:24:04 (Apr.
19, 2023) https://tinyurl.com/2usfjna4 (statement of Rep. Dean Black at 2:23:05-
2:24:04).


                                          37
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 62 of 86



but intended. Coverage for the treatments is banned only when transgender people

need them. The record below thus established not only a “foreseeab[le] … disparate

impact,” League of Women Voters, 66 F.4th at 922, but a disparate impact within the

actual “knowledge” of policymakers.        Id. This impact was communicated to

Defendants. See, e.g., PX.323-25; see also, supra, Part F.

      The availability of less discriminatory alternatives: “There is no evidence

[Defendants] considered less discriminatory alternatives.” Lange, 608 F.Supp.3d at

1356. For example, if Florida sought to ensure that individuals receive competent

and appropriate care for treatment of gender dysphoria, it could have required

compliance with the Protocols, which include standards for prescribing medication,

ensuring that patients understand the risks and benefits of treatment, and obtaining

informed consent. Instead, Florida banned public funding for all gender-affirming

medical care.

      These facts, none of which Defendants dispute, could not be clearer. The

district court correctly found that the Exclusions manifested purposeful

discrimination against transgender people.

      D.    Neither Geduldig, Dobbs, nor Eknes-Tucker forecloses the
            application of heightened scrutiny to the Exclusions.

      Relying on Geduldig v. Aiello, 417 U.S. 484, 496 n.20 (1974), Dobbs v.

Jackson Women’s Health Org., 142 S.Ct. 2228, 2235 (2022), and Eknes-Tucker,

Defendants say it does not matter that the Exclusions prohibit treatment only


                                        38
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 63 of 86



transgender people need or seek, because, they claim, the Exclusions discriminate

based on diagnosis. But neither Geduldig nor Dobbs assist Defendants. 24 As the

district court found, the statement in these cases “about procedures only one sex can

undergo is simply inapplicable.” Doc.246, at 36.

      Equal protection jurisprudence has long drawn a fundamental distinction

between sex-neutral classifications (which trigger heightened scrutiny only when

passed, at least in part, for a discriminatory purpose) and facial sex classifications

(which always trigger heightened scrutiny). See Feeney, 442 U.S. at 273-74. Here,

the Exclusions facially classify based on sex, requiring that in each instance a

person’s sex be known and used to determine whether treatment is covered. See,

supra, Section I.A.1; see also L.W. v. Skrmetti, 83 F.4th 460, 502 (6th Cir. 2023)

(White, J., dissenting). Nor did Dobbs overrule Virginia’s command that all sex

classifications warrant heightened scrutiny. Indeed, lower courts are bound to

follow Supreme Court precedent “even if the lower court thinks the precedent is in

tension with some other line of decisions.” Mallory v. Norfolk S. Ry. Co., 600 U.S.

122, 136 (2023) (quotation omitted). By conflating the disparate impact at issue in




24
      Dobbs did not create new equal-protection law; it simply reiterated
Geduldig’s holding that facially neutral regulations of medical procedures do not
always receive heightened scrutiny simply because they disparately impact members
of one sex.


                                         39
USCA11 Case: 23-12155         Document: 57      Date Filed: 11/27/2023   Page: 64 of 86



Geduldig/Dobbs with the facial classification at issue in this case, Defendants ignore

that fundamental distinction.

        The centrality of gender transition to transgender identity further distinguishes

this case from Geduldig.        Unlike the pregnancy exclusion in Geduldig, the

Exclusions are based on a characteristic that defines membership in the excluded

group. Pregnancy is not the defining characteristic of womanhood. Living in accord

with one’s gender identity rather than assigned sex, which the excluded care enables,

is the defining characteristic of a transgender person. See, e.g., Glenn, 663 F.3d at

1316.

        The Supreme Court has “declined to distinguish between status and conduct”

in analogous contexts. Christian Legal Soc’y Chapter of the Univ. of California,

Hastings Coll. of the L. v. Martinez, 561 U.S. 661, 689 (2010); see also Lawrence v.

Texas, 539 U.S. 558, 583 (2003) (O’Connor, J., concurring) (Where “the conduct

targeted by th[e] law … is closely correlated” with the status of being gay, the law

“is targeted at more than conduct,” “[i]t is instead directed toward gay persons as a

class.”); Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270 (1993); cf.

Castaneda v. Partida, 430 U.S. 482, 495 (1977). Thus, laws singling out “sex

reassignment” for differential treatment should be understood as treating transgender

people differently “as a class.” Williams v. Kincaid, 45 F.4th 759, 772 (4th Cir.

2022).



                                           40
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 65 of 86



      Finally, Geduldig itself recognized that where, as here, distinctions are “mere

pretexts designed to effect an invidious discrimination against the members of one

[protected class] or the other,” such distinctions are unconstitutional. Geduldig, 417

U.S. at 496 n.20; see also Hecox, 79 F.4th at 1025. The intent to treat transgender

persons differently pervades the Exclusions’ history and showcases their

discriminatory purpose. See, supra, Section II.C. Moreover, “[s]ome activities may

be such an irrational object of disfavor that, if they are targeted, and if they also

happen to be engaged in exclusively or predominantly by a particular class of people,

an intent to disfavor that class can readily be presumed.” Bray, 506 U.S. at 270. The

Exclusions are plain: coverage is prohibited only for the purpose of “sex

reassignment.” That is enough to show pretext.

      Such a finding of pretext, which the district court made, also distinguishes this

case from Eknes-Tucker. In Eknes-Tucker, the court stated that “the regulation of a

course of treatment that only gender nonconforming individuals can undergo would

not trigger heightened scrutiny unless the regulation were a pretext for invidious

discrimination against such individuals,” which “the district court did not find” in

that case. 80 F.4th at 1229–30. Here, however, the district court made such a

finding.

      Additionally, the law at issue in Eknes-Tucker pertained solely to children,

and the court expressly explained that “notably that interest itself distinguishes



                                         41
USCA11 Case: 23-12155        Document: 57       Date Filed: 11/27/2023   Page: 66 of 86



minors from adults.” Id. at 1230. Here, by contrast, the Exclusions prohibit

coverage for adults and minors alike. This fact further bolsters the finding of pretext

as the Exclusions do not discriminate based on age and cannot be explained by an

interest in the wellbeing of minors. 25

      E.     No rational bases, let alone exceedingly persuasive justifications,
             exist for the Exclusions.

      The district court carefully analyzed the possible justifications for the

Exclusions and found each lacking and to be “largely pretextual.” Doc.246, at 38.

This included assertions that the evidence in support of this care is of “low quality”;

the risks attendant to treatment; allegations of bias in medical organizations;

international views; concerns about malpractice; allegations that starting treatment

leads to continuation of treatment; and that the use of puberty-delaying medications

and hormones as treatment for gender dysphoria is “off-label.” Id. at 38-51. The

court rightly dismissed each of these contentions, concluding that “the denial of

Medicaid coverage for transgender patients for the same drugs covered for others

survives neither intermediate nor rational-basis scrutiny.” Id. at 51.




25
       Both AHCA and the legislature focused on gender-affirming medical care
solely as to minors. There is no evidence whatsoever introduced by the State in the
lead up to the Rule, to SB254, or at trial pertaining to this care as to adults, for whom
the Exclusions apply. While the Equal Protection Clause may not always require
perfectly drawn lines, the unprecedented gross overinclusivity of the Exclusions in
this regard further shows the justifications for the Exclusions are pretextual.


                                           42
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 67 of 86



      On appeal, Defendants do not argue that the district court’s analysis on any of

these purported rationales was wrong, rather they cursorily argue that the State has

an interest in (1) “protecting its citizens from risky and poorly supported medical

procedures for the treatment of a difficult-to-diagnose condition,” (2) “in protecting

the integrity and ethics of the medical profession,” and (3) in “preserving and

promoting the welfare of its residents, particularly children.”         Defs.’ Br. 35.

Defendants do not explain how the Exclusions are rationally related to these

interests; let alone how they meet “the close means-end fit required to survive

heightened scrutiny.” Sessions v. Morales-Santana, 582 U.S. 47, 68 (2017).

             1.     Defendants’ assertion that gender-affirming medical care is
                    experimental has no basis.

      Defendants’ argument that gender-affirming medical care is experimental is

baseless. Plaintiffs’ experts, whom the court credited, testified extensively regarding

the safety, efficacy, and well-established nature of this care. See, supra, Part A.

Defendants’ say so is not enough. 26




26
       While not applicable to the equal protection context, the State tries to equate
reasonableness under Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980), with rational
basis analysis. These analyses are distinct, however. In any event, the district court
found the State’s determination was patently unreasonable. And AHCA’s skewed
and incomplete consideration of the six factors set forth in FAC 59G-1.035(4)
underscores that its determination was not reasonable. See K.G. ex rel. Garrido v.
Dudek, 864 F.Supp.2d 1314, 1322 (S.D. Fla. 2012), aff’d in part, rev’d in part sub
nom. Garrido v. Dudek, 731 F.3d 1152 (11th Cir. 2013).


                                          43
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 68 of 86



        While not binding in this context, Florida’s Medicaid regulations are

instructive in this regard. They articulate six criteria to determine whether a service

is consistent with generally accepted professional medical standards, as opposed to

experimental or investigational. FAC 59G-1.035(4); see also K.G., 864 F.Supp.2d

at 1321.     The criteria are: (a) evidence-based clinical practice guidelines; (b)

published reports and articles in the authoritative medical and scientific literature

related to the health service (published in peer-reviewed scientific literature

generally recognized by the relevant medical community or practitioner specialty

associations); (c) effectiveness of the health service in improving the individual’s

prognosis or health outcomes; (d) utilization trends; (e) coverage policies by other

creditable insurance payor sources; (f) recommendations or assessments by clinical

or technical experts on the subject or field. FAC 59G-1.035(4). Each of these factors

favors Plaintiffs.

        a.    Here, WPATH and the Endocrine Society have published the Protocols,

which the district court found “are widely followed by well-trained clinicians,” “are

used by insurers,” and “have been endorsed by the United States Department of

Health and Human Services.” Doc.246, at 16-17. Defendants do not dispute any of

this.

        Defendants argue that WPATH and the Endocrine Society are “advocacy

organizations.” Defs.’ Br. 5. But these aspersions lack merit. First, it is de rigeur



                                          44
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 69 of 86



for professional medical associations to advocate on behalf of healthcare providers

and patients.   Tr. 76:20-77:9, 96:6-17.       That does not undermine—let alone,

invalidate—their published clinical practice guidelines.        Second, the fact that

WPATH members drafted the Standards of Care merely reflects that clinicians and

researchers with the requisite expertise in transgender medicine drafted them. Tr.

125:5-8, 125:19-21. Third, the guidelines are based on rigorous reviews of the peer-

reviewed scientific literature and extensive clinical experience. Tr. 32:25-33:13,

186:2-9; DX.16, at App. A; DX.24, at 3872-73. Indeed, they were published in peer-

reviewed, medical journals, providing “a significant indication that it is taken

seriously by other scientists, i.e., that it meets at least the minimal criteria of good

science.” Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995).

      b.     A plethora of cross-sectional and longitudinal observational studies

support the provision of gender-affirming medical care. See, supra, Part A. These

studies also accord with Plaintiffs’ experts’ abundant clinical experience.          Id.

Conversely, as the district court found, “evidence suggesting these treatments are

ineffective is nonexistent.” Doc.246, at 39.

      Defendants attempt to discount the abundant supportive literature as “low

quality.” But as the district court found, that claim is highly misleading. See, supra,

Part A; Doc.246, at 38-41. “[I]t is commonplace for medical treatments to be

provided even when supported only by research producing evidence classified as



                                          45
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 70 of 86



‘low’ or ‘very low on [the GRADE] scale.” Doc.246, at 39-40. And “[t]he record

includes unrebutted testimony that only about 13.5% of accepted medical treatments

across all disciplines are supported by ‘high’ quality evidence on the GRADE scale.”

Id. at 40.

       c.    The peer-reviewed literature shows that puberty-delaying medications,

hormone therapy, and surgery are: 1) safe and effective for the treatment of gender

dysphoria; and 2) when used for that purpose, correlated with additional positive

health outcomes, including improved quality of life, mental health, and psychosocial

functioning. See, supra, Part A.

       d.     A notable increase in the utilization of gender-affirming medical care

has occurred over the last three decades, as reflected by AHCA’s own data. Tr.

487:24-489:7; PX.317. This shows that the services are commonly used and not

experimental. See Rush, 625 F.2d at 1156 n.11 (contrasting service that is “generally

accepted by the professional medical community as an effective and proven

treatment for the condition for which it is being used” with a one that “is rarely used,

novel, or relatively unknown”).

       e.    The Exclusions are outliers among health insurance plans. Most health

plans, in Florida and elsewhere, do not have categorical transgender-specific

exclusions. Tr. 480:19-481:16. Indeed, most states and territories operating a

Medicaid program do not exclude coverage of gender-affirming medical care. Tr.



                                          46
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 71 of 86



484:8-485:9. And Florida Medicaid itself covered this care until the Rule was

adopted. See, supra, Part C.

      While other nations’ coverage policies have never factored into the GAPMS

process, Defendants argue that their determination regarding gender-affirming

medical care reflects a “growing global consensus” on the issue. Defs. Br. 29. But

as the district court found, “[t]he assertion is false. And no matter how many times

the defendants say it, it will still be false.” Doc.246, at 45. “No country in Europe—

or so far as shown by this record, anywhere in the world—entirely bans these

treatments or refuses to pay for them.” Id. at 45-46; Tr. 78:5-17. Moreover, the

small handful of policies Defendants point to pertain solely to minors, Tr. 81:9-17,

whereas the Exclusions apply to adolescents and adults alike. The Exclusions are

thus extreme outliers nationally and internationally.

      f.     Finally, recognized clinical and technical experts in the field of

transgender medicine agree that puberty-delaying medications and hormone therapy

are safe and effective treatments for gender dysphoria.        “The record includes

testimony of well-qualified doctors who have treated thousands of transgender

patients with GnRH agonists and cross-sex hormones over their careers and have

achieved excellent results.” Doc.246, at 21. And the district court credited the

testimony of Plaintiffs’ experts “that denial of this treatment will cause needless

suffering for a substantial number of patients and will increase anxiety, depression,



                                         47
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 72 of 86



and the risk of suicide.” Id. “Even the defendants’ expert Dr. Levine testified that

treatment with GnRH agonists and cross-sex hormones is sometimes appropriate.”

Doc.246, at 20.

      By contrast, the district court did not credit Defendants’ experts and AHCA

consultants. Doc.246, at 5 n.8 (noting the court did not credit Dr. Hruz’s testimony

and “credit[ed] other defense experts only to the extent consistent with this

opinion”).

             2.     The Exclusions are not justified by potential risks and side effects
                    of the proscribed treatment.

      That the treatment for which coverage is banned carries potential side effects

and risks cannot justify the Exclusions. As the district court rightly found, “[t]hat

there are risks does not end the inquiry.” Doc.246, at 42. The overwhelming weight

of the evidence shows that the potential risk of harm from pubertal suppression and

hormone therapy is rare when provided under medical supervision. Further, the fact

that the treatment carries risk does not distinguish it from other medical treatments.

“Florida’s Medicaid program routinely covers treatments with greater risks than

those involved here.” Doc.246, at 43.

             3.     Appeals to the general welfare do not justify the Exclusions.

      Defendants argue that the Exclusions “are health and welfare laws” and that

the court erred in not deferring to the State. Defs.’ Br. 26. But “courts nearly always

face an individual’s claim of constitutional right pitted against the government’s


                                          48
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 73 of 86



claim of special expertise in a matter of high importance involving public health or

safety.” S. Bay United Pentecostal Church v. Newsom, 141 S.Ct. 716, 718 (2021)

(Gorsuch, J., separate op.). Just because the Exclusions are “health and welfare

laws” does not mean that they are not subject to scrutiny, under any level of review.

“It has never been enough for the State to insist on deference or demand that

individual rights give way to collective interests.”       Id. Sure, courts “are not

scientists,” but neither are Defendants, and courts need not “abandon the field when

government officials … seek to infringe a constitutionally protected liberty.” Id.

The whole point of judicial scrutiny is to test the government’s assertions.

      F.     The Exclusions fail any level of review.

      Although the Exclusions are properly subject to heightened scrutiny, they fail

any level of review. Even standard rational basis review is “not a toothless one,”

Mathews v. Lucas, 427 U.S. 495, 510 (1976), and “there are limits to the latitude

afforded states.” Deen v. Egleston, 597 F.3d 1223, 1230 (11th Cir. 2010). “The

State may not rely on a classification whose relationship to an asserted goal is so

attenuated as to render the distinction arbitrary or irrational.” Cleburne, 473 U.S. at

446–47.

      Indeed, rational basis review “imposes a requirement of some rationality in

the nature of the class singled out.” Rinaldi v. Yeager, 384 U.S. 305, 308–09 (1966).

Courts must “insist on knowing the relation between the classification adopted and



                                          49
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 74 of 86



the object to be attained,” which “ensure[s] that classifications are not drawn for the

purpose of disadvantaging the group burdened by the law.” Romer v. Evans, 517

U.S. 620, 632, 633 (1996).

      Here, the Exclusions are “so far removed from [the asserted] justifications that

… it [is] impossible to credit them.” Id. at 635. Rather than protect anyone, the

Exclusions harm transgender persons, adult and young alike. Tr. 615:8-16, 641:14-

25, 674:19-25, 705:19-21. There is no rational basis to conclude that allowing

persons with gender dysphoria to receive medications that they, their parents (if

minors), and their doctors agree is medically necessary “would threaten legitimate

interests of [Florida] in a way that” allowing other people to receive the same

medications “would not.” Cleburne, 473 U.S. at 448; see also Eisenstadt v. Baird,

405 U.S. 438, 452 (1972). Thus, even under rational basis review, the justifications

for the Exclusions “ma[k]e no sense in light of how the [statute] treat[s] other

[procedures] similarly situated in relevant respects.” Bd. of Trs. of Univ. of Alabama

v. Garrett, 531 U.S. 356, 366 n.4 (2001).

      Furthermore, like the law struck in Romer, the Exclusions “ha[ve] the peculiar

property of imposing a broad and undifferentiated disability on a single named

group”—in this case, all transgender people, adults, and minors alike. 517 U.S. at

632. Their “sheer breadth”—prohibiting all gender-affirming medical treatment for

all transgender Medicaid beneficiaries—“is so discontinuous with the reasons



                                          50
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 75 of 86



offered” that they are “inexplicable” and “lack[] a rational relationship to legitimate

state interests.” Id.

       Finally, an improper motive for legislation can arise “not from malice or

hostile animus alone” but also “from insensitivity caused by simple want of careful,

rational reflection or from some instinctive mechanism to guard against people who

appear to be different in some respects from ourselves.” Garrett, 531 U.S. at 374

(Kennedy, J., concurring).     That is, at minimum, the case here and why the

Exclusions fail any level of review.

II.    The Exclusions Violate the Affordable Care Act.

       Section 1557 requires, in relevant part, that “[a]n individual shall not, on the

ground prohibited under … title IX … be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under, any health program or

activity, any part of which is receiving Federal financial assistance.” 42 U.S.C. §

18116(a). It is “an affirmative obligation not to discriminate in the provision of

health care.” Schmitt v. Kaiser Found. Health Plan of Washington, 965 F.3d 945,

955 (9th Cir. 2020).

       Defendants’ sole argument regarding this claim is that “the challenged laws

turn on a medical diagnosis—gender dysphoria—that both biological males and

biological females suffer.” Defs.’ Br. 36. Defendants make a passing reference to

Adams, noting that for Title IX, “sex” means “biological sex.” Id. But that is beside



                                          51
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 76 of 86



the point.   No matter how one defines “sex,” a beneficiary’s sex plays “an

unmistakable and impermissible role in the” decision to deny Medicaid coverage.

Thus, for the reasons noted in Section I.A, the Exclusions discriminate based on sex

and therefore violate Section 1557.

       Notably, no justification can save the Exclusions once it is determined they

discriminate based on sex, which they do. As Justice Gorsuch recently explained,

“judges have never been entitled to disregard the plain terms of a valid congressional

enactment.” SFFA, 600 U.S. at 309 (Gorsuch, J., concurring). Under Section 1557,

“it is always unlawful to discriminate among persons even in part” based on sex. Id.

(emphasis in original).

III.   The Exclusions Violate the Medicaid Act.

       Whether Medicaid covers gender-affirming medical care is not a decision left

to the State’s sole discretion. “[O]nce a State elects to join the program, it must

administer a state plan that meets federal requirements.” 27 Frew ex rel. Frew v.

Hawkins, 540 U.S. 431, 433 (2004). Federal EPSDT requirements mandate that

states cover medically necessary services for beneficiaries under age 21. See 42




27
       In addition, AHCA makes the farfetched suggestion that it was somehow
improper for the district court to decide whether the Medicaid Act requires coverage
of the excluded services. Defs.’ Br. 1. As shown herein, courts routinely decide
whether a state coverage policy violates the Medicaid Act provisions at issue here.



                                         52
USCA11 Case: 23-12155       Document: 57     Date Filed: 11/27/2023   Page: 77 of 86



U.S.C. §§ 1396a(a)(10)(A), 1396d(a)(4)(B), 1396d(r)(5). The federal comparability

provision prohibits States from covering a service when medically necessary to treat

one condition but declining to cover the service when medically necessary to treat

another condition. See 42 U.S.C. § 1396a(a)(10)(B); 42 C.F.R. § 440.230(c). And

while a state may exclude coverage of a service it has determined is never medically

necessary because it is experimental or investigational, it can only do so if the

determination was reasonable. Rush, 625 F.2d at 1157.

      As described in Section I.E.1, supra, Defendants’ determination that the use

of puberty-delaying medications and hormone therapy to treat gender dysphoria is

experimental was far from reasonable. Doc.246, at 10, 15, 21. Accordingly, Florida

cannot escape its obligations under the EPSDT and comparability requirements to

cover the services when medically necessary for transgender beneficiaries with

gender dysphoria.

      A.    The Exclusions Violate the Medicaid Act’s EPSDT Requirements.

      The district court correctly concluded that the Exclusions violate the EPSDT

requirements of the Medicaid Act. Doc.246, at 51-52. The fundamental purpose of

these requirements is to ensure that Medicaid recipients under age 21 receive the

“health care they need when they need it.” M.H. v. Berry, 2021 WL 1192938, *6

(N.D. Ga. March 29, 2021); see also PX.62. The EPSDT provisions require each

state Medicaid program to cover any service that is allowable under Medicaid’s



                                        53
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 78 of 86



scope of benefits listed in §1396d(a) if “necessary … to correct or ameliorate” an

individual’s illness or condition regardless of whether the state covers the service

for adults. 42 U.S.C. §§ 1396d(r)(5), 1396a(a)(10)(A), 1396d(a)(4)(B); see, e.g.,

Moore ex rel. Moore v. Reese, 637 F.3d 1220, 1233-34 (11th Cir. 2011); S.D. ex rel.

Dickson v. Hood, 391 F.3d 581, 589-593 (5th Cir. 2004). “The EPSDT obligation

is thus extremely broad.” Katie A., ex rel. Ludin v. L.A. County, 481 F.3d 1150,

1154 (9th Cir. 2007); see also Smith v. Benson, 703 F.Supp.2d 1262, 1269-70 (S.D.

Fla. 2010) (“CMS … has made the broad mandate of the EPSDT program

abundantly clear.”). And “there is a very strong inference to be inclusive rather than

exclusive” when determining the meaning of “correct or ameliorate.” Ekloff v.

Rodgers, 443 F.Supp.2d 1173, 1180 (D. Ariz. 2006). Further, states must take the

proactive step of arranging for the services determined to be medically necessary for

a particular beneficiary. 42 U.S.C. § 1396a(a)(43)(C); Katie A., 481 F.3d at 1158-

59.

      The EPSDT provisions require AHCA to cover puberty-delaying medications

and hormone therapy for transgender beneficiaries under 21. The services are

benefits listed in § 1396d(a). See 42 U.S.C. § 1396d(a)(12) (prescribed drugs).28


28
       While the Medicaid Act allows states to place certain limits on coverage of
prescribed drugs for adults, see, infra, Section III.B., EPSDT requires coverage of
all “prescribed drugs” for beneficiaries under age 21 when medically necessary. See
42 C.F.R. § 440.120 (defining prescribed drugs); PX.63 (noting that “any prescribed


                                         54
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 79 of 86



And, for many transgender young people, the services are “necessary … to correct

or ameliorate” their gender dysphoria. Id. § 1396d(r)(5). As the district court found,

“the overwhelming weight of medical authority supports treatment of transgender

patients with GnRH agonists and cross-sex hormones in appropriate circumstances.”

Doc.246, at 18; see also, supra, Section I.E.1.

      Prior to implementing the Exclusions, AHCA itself concluded these services

are medically necessary, covering them for a significant number of transgender

Medicaid beneficiaries under age 21. PX.317. Indeed, AHCA covered puberty-

delaying medications for K.F. and Susan Doe and hormones for Mr. Rothstein.

Doc.246, at 9; Tr. 611:7-15; 636:7-11, 703:18-20. Despite the change in agency

policy, the treatment was and continues to be medically necessary for K.F., Susan

Doe, and Mr. Rothstein, as the district court determined. Doc.246, at 23-26; see also

id. at 37. These factual findings were not clearly erroneous, see Anderson v. City of

Bessemer City, 470 U.S. 564, 573-74 (1985), and Defendants do not argue otherwise.

      Given that puberty-delaying medications and hormone therapy are medically

necessary for many transgender young people, including K.F., Susan Doe, and Mr.

Rothstein, Defendants cannot categorically exclude coverage of these services. See

S.D., 391 F.3d at 592 (“[T]he plain words of the [Medicaid Act] and the legislative



drug covered under Medicaid EPSDT requirements is eligible for federal financial
participation (FFP) regardless of the applicability of [42 U.S.C. § 1396r-8]”).


                                         55
USCA11 Case: 23-12155        Document: 57      Date Filed: 11/27/2023   Page: 80 of 86



history make evident that Congress intended that the health care, services, treatment

and other measures that must be provided under the EPSDT program be determined

by reference to federal law, not state preferences.”).

      B.     The Exclusions Violate the Medicaid Act’s Comparability
             Requirement.

      Likewise, the district court correctly concluded that the Exclusions violate the

comparability requirement of the Medicaid Act. Doc.246, at 52. The Medicaid Act

requires AHCA to ensure that the “medical assistance made available to any

[categorically needy] individual … shall not be less in amount, duration, or scope

than the medical assistance made available to any other such individual.” 42 U.S.C.

§ 1396a(a)(10)(B); 42 C.F.R. § 440.240. Federal regulations make clear that states

“may not arbitrarily deny or reduce the amount, duration, or scope of a required

service … to an otherwise eligible beneficiary solely because of the diagnosis, type

of illness, or condition.” 42 C.F.R. § 440.230(c).

      Courts have repeatedly held the comparability requirement “prohibits

discrimination among individuals with the same medical needs stemming from

different medical conditions.” Davis v. Shah, 821 F.3d 231, 258 (2d Cir. 2016)

(finding state policy covering prescription orthopedic footwear and compression

stockings for beneficiaries with certain listed conditions, but not for those with equal

need for the services due to other conditions, violated comparability requirement);

see also White v. Beal, 555 F.2d 1146, 1148 (3d Cir. 1977); Cota v. Maxwell-Jolly,


                                          56
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 81 of 86



688 F.Supp.2d 980, 993 (N.D. Cal. 2010). Plaintiffs need not show that their medical

needs are identical to those of the beneficiaries who are receiving coverage – rather,

a showing that their medical needs are equivalent is sufficient. See Davis, 821 F.3d

at 258.

      Plaintiffs made that factual showing. 29 For example, AHCA unquestionably

covers hormone therapy to treat various health conditions other than gender

dysphoria. PX.1, at ¶8; PX.4, at Definitions ¶13. The district court rightly found,

based on the substantial trial record, that these medications are equally appropriate

and effective treatment for gender dysphoria. Doc.246, at 20.

      The prescription drug provision of the Medicaid Act supports this conclusion.

The statute requires states to cover all FDA-approved drugs when they are prescribed

for a “medically accepted indication,” subject to certain limited unrelated

exceptions. 30   42 U.S.C. §§ 1396r-8(k)(2), 1396r-8(d)(1)(B); see PX.63, at 2


29
       While coverage of gender-affirming surgery is not at issue here, AHCA argues
that covering a mastectomy to treat cancer but declining to cover a mastectomy to
treat gender dysphoria shows it does not violate comparability. Defs.’ Br. 52.
Multiple federal courts have disagreed, holding that such a policy impermissibly
discriminates based on diagnosis. See, e.g., Flack v. Wisconsin Dep’t of Health
Servs., 395 F.Supp.3d 1001, 1019 (W.D. Wis. 2019); Fain, 618 F.Supp.3d 313.
Defendants’ claim is based on the false premise that surgery is not effective
treatment for gender dysphoria (because “healthy breast tissue” is removed). See Tr.
307:7-309:7, 554:25-558:4.
30
      Conversely, nothing in the Medicaid Act prohibits states from covering FDA-
approved drugs when they are prescribed for a use that is not FDA-approved or
supported by citation in a compendium.


                                         57
USCA11 Case: 23-12155       Document: 57      Date Filed: 11/27/2023   Page: 82 of 86



(“covered outpatient drugs that are prescribed for a medically accepted indication

must be covered” by Medicaid)). A “medically accepted indication” is a use that is

FDA-approved or “supported by one or more citations included or approved for

inclusion in any of the compendia” listed in the Medicaid Act. 42 U.S.C. § 1396r-

8(k)(6); see also id. § 1396r-8(g)(1)(B)(i) (listing three compendia, one of which is

DRUGDEX). For purposes of determining medical need for a prescription drug

under the Medicaid Act, a use that is FDA-approved stands on equal footing with a

use that is supported by citation in a compendium. See Edmonds v. Levine, 417

F.Supp.2d 1323, 1337 (S.D. Fla. 2006) (holding AHCA cannot “substitute its own

judgment for that of Congress” and deny coverage for uses of a prescription drug

that are supported by citation in a compendium).

      Here, citations in DRUGDEX support the use of forms of testosterone and

estrogen to treat gender dysphoria. PX.25, at 18-21, 23-26, 29-36; PX.26, at 23-25,

27-28, 34-35. See Dobson v. Sec’y of Health & Hum. Servs., 2022 WL 424813 at

*7 (11th Cir. 2022) (interpreting the phrase “supported by one or more citations” in

§ 1396r-8(k)(6) to mean a citation “tend[s] to show or help[s] prove the efficacy and

safety of the prescribed off-label use”). Nevertheless, AHCA refuses to cover these

medications to treat that diagnosis. Further, AHCA covers testosterone cypionate,

testosterone enanthate, and estrogen for absolutely any use—whether the use is

FDA-approved, supported by citation in a compendium, or not—other than to treat



                                         58
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023   Page: 83 of 86



gender dysphoria. Doc.241-1 (linking to AHCA’s Preferred Drug List) 31; PX.28

(indicating that for drugs that do not require prior authorization, AHCA “does not

verify the diagnosis” prior to providing coverage). Thus, AHCA is excluding

coverage for only one “medically accepted indication” (gender dysphoria) and

providing coverage for every other indication, even those not medically accepted.

      By failing to provide “comparable services for individuals with comparable

needs,” Defendants plainly violate the Medicaid Act. Cota, 688 F.Supp.2d at 993;

see also Doc.246, at 52.

                                 CONCLUSION

      For the foregoing reasons, the district court’s judgment should be affirmed.

      Dated this 27th day of November 2023.




31
      The district court admitted AHCA’s Preferred Drug List as an exhibit but
given that it is available online did not assign it an exhibit number. Doc.241-1.


                                        59
USCA11 Case: 23-12155     Document: 57      Date Filed: 11/27/2023   Page: 84 of 86



                                         Respectfully submitted,

                                          /s/ Omar Gonzalez-Pagan
Simone Chriss                            Omar Gonzalez-Pagan
Chelsea Dunn                             LAMBDA LEGAL DEFENSE AND
SOUTHERN LEGAL COUNSEL, INC.             EDUCATION FUND, INC.
1229 NW 12th Avenue                      120 Wall Street, 19th Floor
Gainesville, FL 32601                    New York, NY 10005
(352) 271-8890                           (212) 809-8585
simone.chriss@southernlegal.org          ogonzalez-pagan@lambdalegal.org
chelsea.dunn@southernlegal.org
                                         Karen L. Loewy
Katy DeBriere                            LAMBDA LEGAL DEFENSE AND
FLORIDA HEALTH JUSTICE PROJECT           EDUCATION FUND, INC.
3900 Richmond Street                     1776 K Street, NW, 8th Floor
Jacksonville, FL 32205                   Washington, DC 20006
(352) 278-6059                           (202) 804-6245
debriere@floridahealthjustice.org        kloewy@lambdalegal.org

Abigail Coursolle                        Jennifer Altman
NATIONAL HEALTH LAW PROGRAM              Shani Rivaux
3701 Wilshire Boulevard, Suite 315       PILLSBURY WINTHROP
Los Angeles, CA 90010                    SHAW PITTMAN, LLP
(310) 736-1652                           600 Brickell Avenue, Suite 3100
coursolle@healthlaw.org                  Miami, FL 33131
                                         (786) 913-4900
Catherine McKee                          jennifer.altman@pillsburylaw.com
NATIONAL HEALTH LAW PROGRAM              shani.rivaux@pillsburylaw.com
1512 E. Franklin Street, Suite 110
Chapel Hill, NC 27514                    William C. Miller
(919) 968-6308                           Gary J. Shaw
mckee@healthlaw.org                      PILLSBURY WINTHROP
                                         SHAW PITTMAN, LLP
                                         1200 17th Street, NW
                                         Washington, DC 20036
                                         (202) 663-8000
                                         william.c.miller@pillsburylaw.com
                                         gary.shaw@pillsburylaw.com

                        Counsel for Plaintiffs-Appellants


                                       60
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023    Page: 85 of 86



                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 32(a)(7)(B) because, excluding the parts of the brief exempted by Federal

Rule of Appellate Procedure 32(f), this brief contains 12,998 words.

      This brief complies with the typeface and type-style requirements of Federal

Rules of Appellate Procedure 32(a)(5)-(6) because it was prepared in a

proportionally spaced typeface using Microsoft Word in Times New Roman font

size 14.

                                             /s/ Omar Gonzalez-Pagan
                                             Omar Gonzalez-Pagan




                                        61
USCA11 Case: 23-12155      Document: 57      Date Filed: 11/27/2023   Page: 86 of 86



                         CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2023, I filed a true and correct copy of

the foregoing with the Clerk of the United States Court of Appeals for the Eleventh

Circuit by using the appellate case filing CM/ECF system. Participants in the case

are registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.

                                             /s/ Omar Gonzalez-Pagan
                                             Omar Gonzalez-Pagan




                                        62
